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                   UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO




Larry Golden,Pro Se Plaintiff
740 WoodruffRd.,#1102
Greenville, SC 29607                                JAN 1 1 2024

Phone (864)288-5605                            CLERK. U.S. uiSfrilCi COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
Email: atpg-tech@charter.net


                                        CASE NO: 3:22-cv-05246-RFL

LARRY GOLDEN,
                                        JURY TRIAL DEMANDED
             Plaintiff,

                 V.                     (Direct Patent Infringement),
                                        (Induced and Contributory Patent
GOOGLE LLC                              Infringement),(Joint Infringement,
                                        (Willful Infringement)
            Defendants.




            PLAINTIFF'S NOTICE OF RELATED FILINGS IN
                          THE SUPREME COURT




                                                      January 10, 2024
         Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 2 of 89




       Relevant to the cause(s) of action outlined in this case, is the recent case filed in the

Supreme Court on January 9, 2024, Larry Golden v. Oiialcomm Incorporated, Case No. 23-740

       Pursuant to the Supreme Court, all petitions filed on or after July      of2019 must include

a "Related Cases" section. Relevant to petition filings, Rule 14 now asks for:

       [A] list of all proceedings in state and federal trial and appellate courts, including
       proceedings in this Court, that are directly related to the case in this Court. For each such
       proceeding, the list should include the court in question, the docket number and case
       caption for the proceeding, and the date of entry of the judgment. For the purposes of this
       rule, a case is "directly related" if it arises from the same trial court case as the case in
       this Court (including the proceedings directly on review in this case), or if it challenges
       the same [causes of actions; patents, etc.] as is challenged in this Court, whether on direct
       appeal or through state or federal collateral proceedings. Amended Rule 14.1(b)(iii).


       The "Certificate of Service" not only include the Defendant's Attomey of record in this

case, it also provides "Notice", and a list of other "Related Cases".

       Attached as Exhibit A is a copy of the "Petition for Writ of Certiorari of the Related Case

filed in the Supreme Court in Larry Golden v. Qualcomm Incorporated, Case No. 23-740"




                                                       Sincerely,


                                                       / Larvy Golde^v
                                                       Larry Golden, Pro Se Plaintiff
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                                                       Greenville, SC 29607

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         Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 3 of 89




                    CERTIFICATE OF NOTICE AND SERVICE



       The undersigned hereby certifies that on this 10"^ day of January, 2024, a true and correct
copy of the foregoing "Notice of Related Filings in the Supreme Court" and a copy of the
"Petition for Writ of Certiorari of the Related Case filed in the Supreme Court in Larry Golden v.
Qualcomm Incorporated, Case No. 23-740", was ser\'ed upon the following Defendants either by
priority "express" mail; priority mail; or via email


    1. Golden v. Google LLC,3:2022cv05246, California Northern District Court-[San
       Francisco] Pending
       U.S. District Court-NDC-San Francisco
       450 Golden Gate Avenue, 16"^ Floor
       San Francisco, CA 94102

       Matthew S. Warren
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       2261 Market Street, No. 606
       San Francisco, California, 94114
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       Fax:(415) 895-2964
       Email: 22-5246@cases.warrenlex.com

    2. Golden v. Qualcomm, Inc., 4:2022cv03283, California Northern District Court -
       [Oakland] Judgement entered March 15, 2023
        U.S. District Court-NDC-Oakland
       1301 Clay Street, Suite 400 S
       Oakland, CA 94612

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       50 West San Fernando Street, Suite 250
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       Email:jstevens@pattersonsheridan.com

    3. Golden v. Intel Corporation, 5:2022cv03828, California Northern District Court -[San
       Jose] Judgement entered November 22, 2022
        U.S. District Court-NDC-San Jose
       280 South U' Street, Room 2112
     Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 4 of 89




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4. Golden v. Apple, Inc., 3:2022cv04152, California Northern District Court -[San
   Francisco] Judgement entered October 20, 2022
   U.S. District Court-NDC-San Francisco
   450 Golden Gate Avenue, 16^' Floor
   San Francisco, CA 94102

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   Palo Alto, CA 94301
   Phone: 650-470-4500 Fax: 650-470-4570
   Email:jdicanio@skadden.com


5. Golden v. Samsung Electronics America, Inc., 3:2023cv00048, California Northern
   District Court -[San Francisco] Judgement entered June 8, 2023
   U.S. District Court-NDC-San Francisco
   450 Golden Gate Avenue, 16^"^ Floor
   San Francisco, CA 94102

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   3000 El Camino Real, 10th Floor
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6. Golden v. Samsung Electronics America, Inc., 0:2023cvpri02120, U.S. Court of Appeals,
   Federal Circuit. Pending
   U.S. Court of Appeals for the Federal Circuit
   717 Madison Place, NW
    Washington, DC 20439

   Hyun Sik Byun
     Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 5 of 89




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   Palo Alto, CA 94306
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7. Golden v. Qualcomm Incorporated, 0:2023cvpri01818, U.S. Court ofAppeals, Federal
   Circuit. Judgement entered October 10, 2023
   U.S. Court ofAppeals for the Federal Circuit
   717 Madison Place, NW
   Washington, DC 20439

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8. Golden v. US,0:2023cvus02139, U.S. Court of Appeals, Federal Circuit. Judgement
   entered December 15, 2023

   U.S. Court ofAppeals for the Federal Circuit
   717 Madison Place, NW
   Washington, DC 20439

   Grant D. Johnson Trial Attorney
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   Civil Division Department of Justice
   Washington, DC 20530
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9. GOLDEN V. USA, l:2013cv00307, U.S. Court of Federal Claims. Judgement entered
   November 10, 2021
   ProSe_case_filings@cfc.uscourts.gov,
   Grant.D.Johnson@usdoj.gov,

10. GOLDEN V. USA, l:2023cv00185, U.S. Court of Federal Claims. Judgement entered
   May 31,2023
   ProSe_case_filings@cfc.uscourts.gov,
   Grant.D.Johnson@usdoj.gov,

11. GOLDENV. USA, l:2023cv00811, U.S. Court of Federal Claims. Pending
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   ProSe_case_filings@cfc.uscourts.gov,
   Grant.D.Johnson@usdoj.gov,


12. United States Department ofHomeland Security, Petitioner, v. Larry Golden, Patent
   Owner, Case IPR2014-00714, The United States Patent Trial and Appeal Board. Final
   Written Decision entered October 15, 2015

   Mail Stop PATENT BOARD
   Patent Trial and Appeal Board
   US Patent and Trademark Office
   PO Box 1450
   Alexandria, Virginia 22313-1450

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                   Exhibit A
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                        ^o.Z3-7V^




                           IhviW^t

      Supreme Court of ti^c ®niteb States!


                      LARRY GOLDEN,

                                             Petitioner,

                              V.




                      QUALCOMM INC.,

                                          Respondent.




              On Petition For Writ Of Certiorari
            To The United States Court Of Appeals
                   For The Federal Circuit




           PETITION FOR WRIT OF CERTIORARI




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                                                           JAN - 9 ZOZit
Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 9 of 89




                   QUESTIONS PRESENTED

          On March 6, 1857, in the Dred Scott decision, the
      U.S. Supreme Court decided that African Americans
      "had no rights which the white man was bound to re
      spect" and that "all people of African descent, free or
      enslaved, were not US. citizens and therefore had no
      right to sue in federal court; the Dred Scott decision
      was made after the Fifth Amendment, which "requires
      that'due process oflaw' be part of any proceeding that
      denies a citizen . .. property"; and the Seventh Amend
      ment,that "preserves the right of a jury for civil cases
      in federal court"; yet, some would say the Dred Scott
      decision was effectively nullified in 1865 by the pas
      sage of the Thirteenth Amendment, which abolished
      slavery, and by the Fourteenth Amendment in 1868,
      which guaranteed full citizenship rights; but, where is
      it specifically written that a black and/or African
      American has the right to sue a White in federal court
      over property?
          The Northern District of California Court and
      The Federal Trade Commission in FTC v. Qualcomm,
      411F.Supp. 3d 658(N.D. Cal. 2019),has already inves
      tigated and discovered Qualcomm does not have the
      patent rights; a licensing agreement; or authorization
      to legally collect a 5% running royalty on the price
      of each smartphone sold. Therefore, is it fair to say
      Qualcomm's unauthorized "use" of the patented
      smartphone invention to collect tens of billions of dol
      lars annually is in violation of 35 U.S.C. § 271(a), and
      the person injured is the inventor who owns the patent
      rights for the smartphone?
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            QUESTIONS PRESENTED—Continued

          Does systemic/structural racism in the District
      and Appellate Courts; does judicial abuse and bias
      against petitioner, a Black and/or African American;
      does denying Petitioner his 7th Amendment right to a
      trial by jury; create monetary liabilities for the com
      pany, Qualcomm, who benefits from the District and
      Appellate Courts' actions?
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               PARTIES TO THE PROCEEDING

           The parties to the proceeding in the United States
       Court of Appeals for the Federal Circuit were Peti
       tioner Larry Golden and Respondent Qualcomm Incor
       porated.


                         RELATED CASES

           Golden v. Google LLC, 3:2022cv05246, California
           Northern District Court. Pending
           Golden u. Qualcomm, Inc., 4:2022cv03283, Cali
           fornia Northern District Court. Judgment entered
           March 15, 2023
          Golden v. Intel Corporation, 5:2022cv03828, Cali
          fornia Northern District Court. Judgment entered
           November 22, 2022
           Golden v. Apple, Inc., 3:2022cv04152, California
           Northern District Court. Judgment entered Octo
           ber 20,2022
           Golden v. Samsung Electronics America, Inc.,
          3:2023cv00048, California Northern District Court.
          Judgment entered June 8, 2023
          Golden v. Samsung Electronics America, Inc.,
          0:2023cvpri02120, U.S. Court of Appeals, Federal
          Circuit. Pending
          Golden v. Qualcomm Incorporated,0:2023cvpri01818,
          U.S. Court of Appeals, Federal Circuit. Judgment
          entered October 10, 2023
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                 RELATED CASES—Continued

          Golden v. USA, 0;2023cvus02139, U.S. Court of
          Appeals, Federal Circuit. Judgment entered De
          cember 15,2023
          Golden y. USA,l:2013cv00307, U.S. Court of Fed
          eral Claims. Judgment entered November 10,
          2021

          Golden v. USA,l:2023cv00185, U.S. Court of Fed
          eral Claims. Judgment entered May 31, 2023
          Golden v. USA, l:2023cv00811, U.S. Court of Fed
          eral Claims. Pending
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             DEPENDENT CLAIMS OF PETITIONER'S
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      Order: Denying Motion for Reconsideration;
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        ern District of California (04/06/2023)      App.21
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         PETITION FOR A WRIT OF CERTIORARI

           Larry Golden petitions for a writ of certiorari to
       review the judgment ofthe United States Court ofAp
       peals for the Federal Circuit in this case.



                       OPINIONS BELOW

          The Court of Appeals opinions addressing the
      questions(App. 1-10) and (App. 24-25) are unreported.
      The District Court opinions addressing the questions
      (App. 11-20), and (App. 21-23) are unreported.



                          JURISDICTION

           The District Court entered judgment on March 15,
      2023 (App. 11). The District Court entered judgment
      on a motion for reconsideration on April 6, 2023(App.
      21).The Court ofAppeals entered judgment on October
      10,2023(App. 1). The Court of Appeals denied a timely
      filed petition for rehearing en banc on December 6,
      2023 (App. 24). This Court has jurisdiction under 28
      U.S.C. § 1254(1).



            STATUTES AND CONSTITUTIONAL
                   PROVISIONS INVOLVED

          35 U.S.C. § 271(a) direct patent infringement and
      "use" of a patented invention; § 271(b) induced pa
      tent infringement; § 271(c) contributory patent
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      infringement; U.S. Constitution—Fifth Amendment
      "Due Process" Clause; U.S. Constitution—Seventh
      Amendment "Right to Trial by Jury"; and Antitrust
      law—illegal "tying" arrangement.



                     INTRODUCTION AND
                 STATEMENT OF THE CASE

           The District Court and the Appellate Court have
      victimized, mistreated, and prosecuted another Black
      and/or African American in a system of deeply embed
      ded racist laws [systemic/structural racism], and has
      entrenched the practices and beliefs that produce,con
      done, and perpetuate the widespread unfair treatment
      and oppression of Blacks and/or African Americans
      [Petitioner] who attempt to bring actions in a court of
      law against Whites over property rights [Supreme
      Court "Dred Scott" case].

          The Seventh Amendment of the United States
      Constitution provides in relevant part that "[i]n suits
      at common law,where the value in controversy exceeds
      twenty dollars, the right of trial by jury shall be pre
      served" [U.S. CONST, amend. VII]. The Northern Dis
      trict of California Court fail to adhere to the Circuit's
      own precedence [horizontal stare decisis] in FTC v.
      Qualcomm,411 F. Supp. 3d 658 (N.D. Cal. 2019)
          Judge Lucy H. Koh concluded Qualcomm is being
      "unjustly enriched" from its anticompetitive practices
      of collecting a 5% running royalty on the price of
      each "smartphone" sold [FTC—"unfair methods of
Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 21 of 89




      competition" and "unfair or deceptive acts or prac
      tices"] from the OEMs Samsung, Google, etc. Qual-
      comm monopolized the market on illegally collecting
      royalties on Petitioner's patented smartphone inven
      tion,thereby restraining Petitioner from collecting roy
      alties from the OEMs Samsung, Google, etc. for the
      making, using, offering for sell, and selling of Peti
      tioner's smartphone invention [35 U.S.C. § 271(a)].
      This type of antitrust injury to Petitioner is of a type
      that the antitrust laws were intended to prevent; and
      the Petitioner's injury flows from that which makes
      Qualcomm's acts unlawful. The District Court and Ap
      pellate Court ignored the fact that the controversy ex
      ceeds twenty dollars, and Petitioner's right of trial by
      jury is preserved [U.S. CONST,amend. VII].

           The District Court and the Appellate Court fail to
      allow a trial by jury [U.S. CONST, amend. VII] upon
      Petitioner, a Black and/or African American demand,
      to determine if Qualcomm's illegal collection of a 5%
      running royalty on the price of each "smartphone" sold
      violates antitrust laws only [FTC v. Qualcomm, 411
      F. Supp. 3d 658 (N.D. Cal. 2019)]; patent laws only
      [whoever "uses" any patented invention without au
      thority or legal right to do so, infringes the patent—35
      U.S.C. § 271(a)], or both antitrust laws and patent
      laws.

          The District Court and the Appellate Court have
      denied Petitioner a trial by jury [U.S. CONST, amend.
      VII] of the patent infringement claims against Qual
      comm's literal infringement and infringement of the
      doctrine of equivalents—35 U.S.C. § 271(a); induced
Case 3:22-cv-05246-RFL Document 65 Filed 01/11/24 Page 22 of 89




      patent infringement—35 U.S.C. § 271(b); contributory
      patent infringement—35 U.S.C. § 271(c); and willful
      infringement—deliberate or intentional; that are is-
      sues-of-facts tried by a jury under the Seventh Amend
       ment.

          The Northern District of California Court, who is
      bound by and must follow the decisions of the U.S.
      Court ofAppeals for the Federal Circuit [vertical stare
      decisis] fail to abide by the Circuit's decision in Larry
      Golden v. Google LLC, Case No. 22-1267, that a
      "smartphone" [Qualcomm's Smartphone for Snap
      dragon Insiders] literally and/or under the doctrine of
      equivalents infringes Petitioner's "independent claims
      from U.S. Patent Nos. 10,163,287, 9,589,439, and
      9,069,189 . . . and it does so in a relatively straightfor
      ward manner". The District Court denied Petitioner
      [systemic/structural racism] a trial by jury in this pa
      tent infringement claim that is an issue-of-fact [U.S.
      CONST, amend. VII].

          Likewise,the U.S. Court of Appeals for the Federal
      Circuit [horizontal stare decisis] fail to adhere to the
      Circuit's own precedence in Larry Golden v. Google
      LLC, Case No. 22-1267, that a "smartphone" [Qual
      comm's Smartphone for Snapdragon Insiders] literally
      and/or under the doctrine of equivalents infringes Pe
      titioner's independent claims from U.S. Patent Nos.
      10,163,287, 9,589,439, and 9,069,189 . . . "and it does
      so in a relatively straightforward manner". The Appel
      late Court was complicit in denying the Petitioner, a
      Black and/or African American, [systemic/structural
      racism] a trial by jury in this patent infringement
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      claim that is an issue-of-fact [U.S. CONST, amend.
      VII].

           The District Court and the Appellate Court ig
      nored the precedence set by the U.S. Court of Appeals
      for the Federal Circuit [vertical stare decisis] in Larry
      Golden v. Google LLC, Case No. 22-1267 that estab
      lishes the "smartphone" directly infringes at least Pe
      titioner's independent claims from U.S. Patent Nos.
      10,163,287, 9,589,439, and 9,069,189 . . . "and it does
      so in a relatively straightforward manner", when es
      tablishing the "direct infringement" requirement for
      induced patent infringement—35 U.S.C. § 271(b); and,
      contributory patent infringement—35 U.S.C. § 271(c).
          The District Court and the Appellate Court fail to
      realize it is a jury's responsibility to decide if Qual-
      comm, with knowledge, has induced patent infringe
      ment by selling its Qualcomm Snapdragon Chipset
      that "ties" Petitioner's patented CPUs, through adver
      tising; with instructions; and with a threat to refuse
      licensing its cellular modems for smartphones if the
      OEMs (i.e., Samsung; Google) does not purchase the
      two combined components [Petitioner's patented CPUs
      and Qualcomm's patented cellular modems]that forms
      Qualcomm's Snapdragon Chipset/SoC/CPU/Processor
      [FTC 0. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal.
      2019)].

          The District Court and the Appellate Court fail to
      realize it is a jury's responsibility to decide if Qual
      comm, with knowledge, has offered to sell or has sold
      within the United States, Qualcomm's Snapdragon
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      Chipset that "ties" Petitioner's patented CPUs [FTC v.
      Qualcomm];is liable as a contributory infringer for us
      ing the "chipset" in practicing Petitioner's patented
       process, constituting a material part ofthe Petitioner's
      smartphone invention, knowing the same to be espe
      cially made or especially adapted for use in an in
      fringement of Petitioner's patent(s), and not a staple
      article or commodity of commerce suitable for substan
      tial non infringing use [contributory infringement].
          The District Court and the Appellate Court ig
      nored the precedence set by the U.S. Court of Appeals
      for the Federal Circuit [vertical stare decisis] in Eko
      Brands,LLC v. Adrian Rivera Maynez Enters.,Inc.,946
      F.3d 1367(Fed. Cir. 2020); "[tjhe Federal Circuit court
      emphasized the actual standard that "willfulness re
      quires a jury [U.S. CONST,amend. VII] to find no more
      than deliberate or intentional infringement."
          On November 4, 2010, Petitioner emailed Kate
      Lane, Strategic IP, Qualcomm Incorporated (E-mail:
                               Direct:                  1^^
      form Ms. Lane of certain patented technology (i.e.,
      CMDC—Smartphone—device; central processing unit
      (CPU)), and asked if Qualcomm would be interested in
      entering into a licensing agreement. December 7,2010,
      Petitioner mailed letters addressed to the attention of
      Qualcomm's Chairman & CEO Dr. Paul E. Jacobs and
      Qualcomm's EVP & President Derek Aberle,informing
      the Executives of the Patent Owner's (Golden) pa
      tented technology and asked if Qualcomm would be in
      terested in entering into a licensing agreement. After
      10 months, Ms. Lane responded back via e-mail on
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       September 29, 2011 with,"Hi Larry, I'm just checking
       in to see if this portfolio is still available for purchase.
       Please let me know. Thank you, Kate". On October 5,
       2011, Ms. Lane responded via e-mail, "Thanks Larry,
       [c]an you please take a few moments to fill out the at
      tached Patent Information Request form for this?
      Please let me know if you have any questions. Best re
      gards, Kate". On October 11, 2011, the Patent Owner
      (Golden) returned via e-mail, the answered Patent In
      formation Request form to Ms. Lane. The Patent
      Owner made several attempts to contact Ms. Lane via
      e-mail and by phone after that, but never heard back
       from Ms. Lane. This evidence allows the Petitioner to
       argue to a jury [U.S. CONST, amend. VII] that his pa
       tented technology was vital to Qualcomm's chipsets
       and smartphone products being able to compete.
           The District Court and the Appellate Court fail to
       realize that regardless of whether the above evidence
      ultimately results in a willfulness finding, getting the
      evidence before the jury [U.S. CONST,amend.VII] may
      increase the likelihood that the jury [U.S. CONST,
      amend. VII] will find infringement and the asserted
      patents valid. Depriving the Petitioner, a Black and/or
      African American, of his right to present Qualcomm's
      alleged deliberate and intentional infringement to a
      jury, not only violates Petitioner's right granted under
      the Seventh Amendment,it also demonstrates and ver
      ifies Petitioner's claim of racism [systemic and struc
      tural racism].
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            REASONS FOR GRANTING THE WRIT
            The District Court Judge overstepped and the
       Appellate Court concurred;that the issue-of-facts to be
       tried by a jury under the Seventh Amendment (Peti
       tioner's alleged literal infringement,infringement un
      der the doctrine of equivalents, induced infringement,
      contributory infringement, willful infringement, un
      just enrichment, and illegal "tying" arrangements); is
       a Constitutional right currently unavailable to the Pe
       titioner, a Black and/or African American, who has
       been entangled in a judicial system of systemic and/or
       structural racism, and Judges who has proven them
       selves to be judicially bias in favor of the White-owned
       Qualcomm corporation. Patent infringement is an is-
       sue-of-fact tried by a jury under the Seventh Amend
       ment.

           Qualcomm has eluded prosecution for its illegal
       behavior, actions, and activities for years. Qualcomm
       has taken advantage of a judicial system that is
       plagued with systemic and structural racism; and
      Judges who are judicially bias toward the Government
      agencies and large corporations, over that of a Pro Se
      Black and/or African American litigant.
           In 2008, Qualcomm was one ofseven White-owned
      companies awarded contracts by the Dept. of Home
      land Security(DHS)in the DHS S&T Cell-All BAA07-
      10 initiative, as the prime contractor responsible for
      developing three of Petitioner's, a Black and/or African
      American, inventions [new, improved cell phone;
      CBRNE sensors; and smartphone CPUs]. As long as
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       Qualcomm was performing work for the Government
       under the Cell-All BAA07-10 initiative, Qualcomm was
       shielded by the DHS [Government] from infringement
      liability.

           Title VI, 42 U.S.C. § 2000d et seq., was enacted as
       part of the landmark Civil Rights Act of 1964. It pro
       hibits the DHS,who awarded seven White-owned com
      panies' contracts, from discriminating against the
      Petitioner, on the basis of race, color or national origin,
      in programs and activities receiving federal financial
      assistance. As President Kennedy said in 1963;
          "Simple justice requires that public funds, to
          which all taxpayers of all races [colors, and
          national origins] contribute, not be spent in
          any fashion which encourages, entrenches,
          subsidizes or results in racial [color or na
          tional origin] discrimination."
          In 2014, the Dept. of Homeland Security (DHS),
      who was protecting Qualcomm from patent infringe
      ment liability, and the Dept. of Justice (DOJ), who was
      representing Qualcomm in Golden v. USA, Case No.
      13-3070; petition the Patent Trials and Appeals Board
      (PTAB) as "persons" not authorized to do so [Return
      Mail V. U.S. Postal Service], with three unqualified pa
      tent references that do not antedate Petitioner's pa-
      tent(s). The PTAB [Government], being judicially bias
      for the benefit ofthe DHS and DOJ,decided to institute
      trial against Petitioner, a Black and/or African Ameri
      can, with the three unqualified references of Astrin,
      Breed, and Mostov. Qualcomm or any of the six other
      white-owned companies could have petitioned the
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       PTAB as "persons" authorized to do so. The DHS,DOJ,
       and PTAB have never before instituted an IPR against
       a White with unqualified patent references to invali
       date their patents.
           In 2019, the Ninth Circuit in FTC v. Qualcomm,
       reversed the opinion of the Northern District of Cali
       fornia Court of a permanent injunction against Qual
       comm. The injunction was issued to enjoin Qualcomm
       from charging and collecting a royalty on Petitioner's
       patented CPU Qualcomm "tied" to its cellular modem
       and sells as a Snapdragon chipset; and collecting a 5%
       running royalty on the price of Petitioner's patented
       handsets.

           The DOJ and the DOE intervened at the Ninth
       Circuit against a sister agency,the FTC,and basically
       stated the only person harmed by Qualcomm's actions
       is a Black and/or African American patent owner.
       Qualcomm was made knowledgeable ofthe IP in 2008.
           In 2019, Qualcomm was notified by the DOJ and
      the U.S. Court of Federal Claims(COFC)to appear in
      Golden v. USA, Case No. 13-307C, but Qualcomm
      failed to appear.The DOJ proceeded to drop everjdhing
      the prime contractor Qualcomm in the DHS S&T Cell-
      All BAA07-10 initiative was responsible for developing
      [Petitioner's patented new, improved cell phone;
      CBRNE sensors; and CPUs] just to make the case a
      dispute between private parties.
          The COFC Judge,knew or should have known,the
      COFC does not have jurisdiction to litigate disputes
      between private parties [the DOJ dropped Qualcomm
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       and the other six white-owned companies awarded
       contracts under the DHS S&T Cell-All BAA07-10 ini
       tiative and narrowed the dispute between the private
       parties of Golden and Apple, away from that of Golden
       V. The DHS].The Petitioner is not required to prove di
       rect infringement under 35 U.S.C. § 271(a) as a predi
       cate to proving direct infringement under 28 U.S.C.
       § UmA)ZoltekV.

           The COFC [Government], being judicially bias in
      favor of the DHS and DOJ, decided to blame the Peti
      tioner, a Black and/or African American,for failure to
      prove direct infringement under 35 U.S.C. § 271(a) as
      a predicate to proving direct infringement under 28
       U.S.C. § 1498(a){Zoltek V)and dismissed the case.

          Between the years 2019 and 2022,Petitioner,a Pro
      Se Black and/or African American, have demanded a
      jury trial under the Seventh Amendment to litigate Pe
      titioner's alleged patent infringement claims against
      Qualcomm,in the U.S. District Court for the District of
      South Carolina and the U.S. District Court for the
      Northern District of California; but, because of sys
      temic/structural racism and judicial bias in favor of
      Qualcomm, Petitioner have been denied his Seventh
      Amendment right to a trial by jury. Petitioner's patent
      infringement claims against Qualcomm is an issue-of-
      fact tried by a jury under the Seventh Amendment.
          The Due Process Clause of the Fifth Amendment
      generally prohibit federal governments ljudges in
      cluded]from "depriving any person of[1 property, with
      out due process of law." Due process, while not
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       "precisely defined," generally refers to a "fundamental
       fairness" requirement when the government [judges
       included] seeks to burden an individuafs property in
       terests. According to the Supreme Court, the "touch
       stone" of due process is "the protection ofthe individual
       against arbitrary action of government [judges]."
           The Supreme Court has determined that the Due
       Process Clause contain both "substantive" and "proce
       dural" components. Procedural due process is con
       cerned with fairness of the procedures employed when
       the government seeks to deprive an individual of their
       property interests. The substantive component "bars
       certain arbitrary, wrongful government actions 're
       gardless of the fairness of the procedures used to im
      plement them.'" The substantive due process inquiry
      revolves around deprivation of a person's property is
      justified.

          This Court should grant the petition, because as it
      stands, the District Court and Appellate Court Judges
      have deprived Petitioner of his property without due
      process of law, and has denied Petitioner, a Black
      and/or African American, his Seventh Amendment
      right to a juiy trial. Plus,the District Court and Appel
      late Court Judges lack the ability to be impartial and
      unbiased; and has violated certain codes of conduct for
      United States Judges:
          Canon 2A."An appearance of impropriety oc
          curs when reasonable minds, with knowledge
          of all the relevant circumstances disclosed by
          a reasonable inquiry, would conclude that
          the judge's honesty, integrity, impartiality.
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          temperament, or fitness to serve as a judge is
          Impaired."
          "[P]ublic manifestation by a judge of the
          judge's knowing approval of invidious dis
          crimination on any basis gives the appearance
          ofimpropriety under Canon 2 and diminishes
          [] the integrity and impartiality of the judici
           ary,in violation of Canon 2A."

          "The duty under Canon 2 to act in a manner
          that promotes public confidence in the integ
          rity and impartiality of the judiciary applies
          to all the judge's activities, including the dis
          charge of the judge's adjudicative [] responsi
          bilities. The duty to be respectful includes []
          avoid []behavior that could reasonably be in
          terpreted as [], prejudice or bias."
          Canon 3C."Disqualification.(1) A judge shall
          disqualify himself or herself in a proceeding
          in which the judge's impartiality might rea
          sonably be questioned, including []: (a) the
          judge has a personal bias or prejudice con
          cerning a party ..."
          Canon 3B(6). "Public confidence in the integ
          rity and impartiality of the judiciary is pro
          moted when judges take appropriate action
          based on reliable information oflikely miscon
          duct. Appropriate action [] should be to pre
          vent harm to those affected by the misconduct
          and to prevent recurrence."

          As Justice Kennedy acknowledged in Williams v.
      Pennsylvania, impartiality in our justice system and
      the guarantees of due process are "necessary to the
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      public legitimacy of judicial pronouncements and to
      the rule oflaw itself."



      I.   PATENT INFRINGEMENT IS AN ISSUE-
            OF-FACT TRIED BY A JURY UNDER THE
           SEVENTH AMENDMENT

           Assuming the Petitioner, an African American in
      ventor, has the constitutional right to sue Qualcomm,
      a White-owned company, in Federal Court; the ques
      tion of whether Qualcomm's alleged infringing devices,
      methods or products are covered by the Petitioner's pa
      tent claims is a question of fact to be resolved by the
      jury. See, e.g., Oakley, Inc. v. Int'l Tropic-Cal, Inc., 923
      F.2d 167,169(Fed. Cir. 1991)("Infringement is a ques
      tion of fact"); SRI v. Matsushita Electronic Corp., 775
      F2d 1107,1125,227 USPQ 577,             (Fed. Cir. 1985)("It
      is settled that the question of infringement (literal or
      by equivalents) is factual").

          Patent infringement is an issue-of-fact tried by a
      jury under the Seventh Amendment. No particular
      form for a jury trial demand is prescribed by California
      statute or court rule.(See Cal. Code Civ. Proc. § 631(a):
      "[tjhe right to a trial by jury as declared by Section 16
      of Article I of the California Constitution shall be
      preserved to the parties inviolate";"[tjrial byjury is an
      inviolate right—not to be violated or broken—and
      shall be secured to all").

           It has been over twenty-five years since the Court
      last assessed the scope of the constitutional right to a
      jury in a patent-infringement case. Markman v.
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       Westvieu) Instruments, Inc., 517 U.S. 370, 372 (1996).
      More remarkable,that decision has been its only direct
      pronouncement on the matter in the 230 years that pa
      tent infringement has been actionable [Act of Apr. 10,
      1790, ch. 7, §§ 1, 4, 1 Stat. 109, 110, 111 (first federal
      patent act)].

            The Seventh Amendment requires juries in "Suits
      at common law"[U.S. CONST,amend. VII]. Law courts
      always offered juries; and early juries tried nearly all
      infringement and validity issues.
         Long-standing equity principles, according to the
      Supreme Court, dictated that "only under the most im
      perative circumstances which in view of the flexible
      procedures of the Federal Rules we cannot now antici
      pate, can the right to a jury trial of legal issues be lost
      through prior determination of equity principles."
            Therefore, why was Petitioner, an African Ameri
      can inventor, denied his Seventh Amendment right to
      a jury trial, in a suit over property against Qualcomm,
      a white-owned company, "but for" the decision of the
      Dred Scott case is still promulgated as "rule oflaw"?


      II.   QUALCOMM'S SMARTPHONE FOR SNAP
            DRAGON INSIDERS LITERALLY MEETS
            EVERY LIMITATION OF PETITIONER'S
            PATENT CLAIMS

      Direct Patent Infringement
          Qualcomm's alleged infringing device that Peti
      tioner claims is literally infringing his patent claims,
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       is Qualcomm's Smartphone for Snapdragon Insiders.
       The Petitioner's literal infringement claim is a ques
       tion offact to be resolved by the jury.
           If a jury finds that Qualcomm's alleged infringing
       devices, methods or products does not literally meet
       one(or more)limitation ofthe patent's claims,the jury
       then inquires whether Qualcomm's alleged infringing
       devices, methods or products incorporates an equiva
       lent of the missing limitation, Warner-Jenkinson Co. v.
       Hilton Davis Chem. Co., 520 U.S. 17, 38, 41 USPQ2d
       1865,    (1997)("The Federal Circuit held that it was
      for the jury to decide whether the accused process was
       equivalent to the claimed process .. . ")

           Equivalency is established using a "three-way
      test" which sets out three questions of fact to be de
      cided by a jury. In the case of Qualcomm's Snapdragon
      Chipset/SoC/CPU, the jury must determine whether
      the Qualcomm's Snapdragon Chipset/SoC/CPU, that
      "ties" Petitioner's patented central processing unit
      (CPU)for smartphones: 1) performs substantially the
      same function as the claimed element; 2) in substan
      tially the same way; and, 3) to give substantially the
      same result, Machine Co. v. Murphy,97 U.S. 120, 125,
      24 L. Ed. 935 (1878)("if two devices do the same work
      in substantially the same way, and accomplish sub
      stantially the same result, they are the same, even
      though they differ in name,form, or shape").
          For a finding of literal (direct) infringement, the
      jury must find that Qualcomm's alleged infringing de
      vices, methods or products literally meets every
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      limitation of the patent's claims. As noted by a CAFC
      panel, "[t]he literal infringement determination,
      whether properly construed claims read onto an ac
      cused product or method,is a question offact." General
      Mills, Inc. V. Hunt-Wesson, Inc., 103 F.3d 978, 41
      USPQ2d 1440(Fed. Cir. 1997).

           The phrase "each handset sold," as defined in FTC
      V. Qualcomm,411 F. Supp. 3d 658(N.D. Cal. 2019),car
      ries the same meaning as "each smartphone of the
      OEM's (i.e., Samsung, Google, Apple, etc.) sold". The
      smartphone is the "genus" and the particular or spe
      cific brand/model (i.e., Qualcomm's Smartphone for
      Snapdragon Insiders; Apple's iPhone 15; Samsung's
      Galaxy S21; Google's Pixel 8), are the species of the
      smartphone.
          The Federal Circuit on 09/08/2022, in Larry
      Golden a Google LLC, Case No. 22-1267—"VACATED
      AND REMANDED" the relevant Case No. 22-1267
      Document 15; back to the District Court "to be filed and
      request service of process". The Federal Circuit deter
      mined the complaint,"includes a detailed claim chart
      mapping features of an accused product, the Google
      Pixel 5 [species] Smartphone [genus], to independent
      claims from U.S. Patent Nos. 10,163,287, 9,589,439,
      and 9,069,189" .. . "in a relatively straightforward
      manner". . .

          "Mr. Golden's complaint includes a detailed
          claim chart mapping features of an accused
          product, the Google Pixel 5 Smartphone, to
          independent claims from U.S. Patent Nos.
          10,163,287, 9,589,439, and 9,069,189 ... It
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          [claim chart] attempts []to map claim limita
          tions to infringing product features, and it
          does so in a relatively straightforward man
          ner . . .[Wle conclude that the district court's
          decision in the Google case is not correct with
          respect to at least the three claims mapped
          out in the claim chart. Mr. Golden has made
          efforts to identify exactly how the accused
          products meet the limitations of his claims in
          this chart. . . ."

          The CAFC ruled that a "smartphone", which is
      the "genus" literally (directly) infringes "independent
      claims from [Petitioner] U.S. Patent Nos. 10,163,287,
      9,589,439, and 9,069,189" . .. because the claim chart
      "map claim limitations to infringing product features,
      and it does so in a relatively straightforward manner


            The specific patents at issue in this case for the
      Petitioner's patented "new, improved upon, and useful
      cell phone and/or smartphone" are U.S. Patents
      9,589,439 ("the '439 patent") that includes eleven
      (11) independent patent claims for the smartphone
      (i.e., new, improved upon, and useful "cell phone");
      9,096,189 ("the '189 patent") that includes nine (9)in
      dependent patent claims for the smartphone (i.e., new,
      improved upon, and useful "cell phone"); 10,163,287
      ("the '287 patent") that includes six (6) independent
      patent claims for the smartphone (i.e., new, improved
      upon, and useful "cell phone"); and, 10,984,619 ("the
      '619 patent") that includes two(2)independent patent
      claims and eighteen (18) dependent patent claims for
      the smartphone (i.e., new, improved upon, and useful
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      "cell phone"). That's a combined total of forty-six (46)
      independent and dependent patent claims for the Peti
      tioner's patented smartphone (i.e., new, improved
      upon, and useful "cell phone").
           In Larry Golden v. Google LLC, Case No. 22-1267,
      the Petitioner only used three (3) of the twenty-eight
      (28)independent patent claims Petitioner has asserted
      in this case against Qualcomm's making, using, offer
      ing for sell, and selling of the Qualcomm Smartphone
      for Snapdragon Insiders; and Qualcomm's use 35
      U.S.C. § 271(a) of hundreds of brands/models of
      smartphones (i.e., handsets) to illegally collect a 5%
      running royalty on the price of each smartphone sold;
      without patent, license, or authorization from Peti
      tioner to do so, goes against everything patent laws are
      written for. Why have 200 years of precedence support
      ing a Patent Owner's right to exclude others from "us
      ing" a patented invention without authorization, only
      to waive that right when the patents are owned by a
      Black and/or African American?

          When Petitioner demonstrated to the District
      Court that Qualcomm's Smartphone for Snapdragon
      Insiders literally (directly) infringes "independent
      claims from U.S. Patent Nos. 10,163,287, 9,589,439,
      and 9,069,189". . . because the claim chart"map claim
      limitations to infringing product features,[] in a rela
      tively straightfoi-ward manner . . . the District Court
      was bound by the doctrine of vertical stare decisis, to
      uphold the CAFC's decision.
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           Vertical stare decisis binds lower courts to follow
      strictly the decisions of higher courts within the same
      jurisdiction (e.g., the Northern District of California
      Court must follow the decisions ofthe U.S. Court ofAp
      peals for the Federal Circuit). The Supreme Court de
      fines vertical stare decisis as the doctrine, "a lower
      court must strictly follow the decision(s) handed down
      by a higher court within the same jurisdiction".
           A court engages in vertical stare decisis when it
       applies precedent from a higher court. For example, if
      the Northern District of California Court in Golden v.
      Qualcomm,Inc. adhered to a previous ruling from the
      United States Court ofAppeals for the Federal Circuit,
      in Larry Golden v. Google LLC, Case No. 22-1267, that
      would be vertical stare decisis.

           Also, under the 35 U.S.C. § 271(a) clause for direct
      infringement: "whoever without authority makes,
      uses, offers to sell, or sells any patented invention,
      within the United States .. . infringes the patent." It
      was determined by the Federal Trade Commission
      (FTC) and the N.D. Cal. Court in 2019 that Qualcomm
      is using Petitioner's patented smartphone invention
      to collect a 5% running royalty on each handset
      [smartphone] sold, without patent, authorization, or
      license to do so. Clearly, Qualcomm has in the past and
      continues to do so today, use Petitioner's patented in
      vention to collects tens of billions of dollars annually.
      Which means Qualcomm is liable for "unjustly enrich
      ing" itself.
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          The District Court and the Federal Circuit can't
      get pass the thought of a Black and/or African Ameri
      can invented the "smartphone" and has decided to ad
      judicate individual claim limitations such as "a lock
      capable of","a vehicle that stops", or "a detection sys
      tem for detecting". This case is about Petitioner's com
      municating, monitoring, detecting, and controlling
      (CMDC) device (i.e., smartphone; improved upon cell
      phone; handset; or communication device), and Qual-
      comm's alleged infringement of Petitioner's CMDC de
      vice.



      III. QUALCOMM ACTIVELY INDUCED THE
              INFRINGEMENT OF PETITIONER'S PA
              TENTS AND CONTRIBUTED TO THE IN
              FRINGEMENT WITH ITS SNAPDRAGON
              CHIPSETS/CPUS

      Indirect Patent Infringement
           Based on the statutes, there are two types of indi
      rect patent infringement:induced patent infringement
      and contributory patent infringement.
          Petitioner's indirect patent infringement
          claims against Qualcomm is an issue-of-fact
          tried by ajury under the Seventh Amendment.
          As the Supreme Court has observed,"[mjainte-
          nance of the jury as a factfinding body is of
          such importance and occupies so firm a place
          in our history and jurisprudence that any
          seeming curtailment ofthe right to ajury trial
          should be scrutinized with the utmost care."
          Consistent with that approach, the Court has
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           construed the Seventh Amendment broadly to
           protect the right tojury trial.

           Inducement of infringement holds Qualcomm re
       sponsible for inducing infringement of Petitioner's pa
       tent as an infringer. Liability for induced infringement
       is defined by 35 U.S.C. § 271(b): Whoever actively in
       duces infringement of a patent shall be liable as an in
       fringer.

            Qualcomm has induced patent infringement by
       selling its Qualcomm Snapdragon Chipset that "ties"
       Petitioner's patented CPUs,through advertising; with
       instructions; and with a threat to refuse licensing its
       cellular modems for smartphones if the OEMs (i.e.,
      Samsung; Google) does not purchase the two combined
      components [Petitioner's CPUs and Qualcomm's cellu
      lar modems] that forms Qualcomm's Snapdragon
      Chipset/CPU. See FTC v. Qualcomm, 411 F. Supp. 3d
      658(N.D. Cal. 2019). The instructions when performed
      by a user of the product lead to direct patent infringe
       ment.

          Petitioner's patented CPU (Qualcomm's Snap
      dragon chipset) is considered the "brains" of the
      smartphone/handset and is capable of carrying out
      the functional and operational instructions of the
      smartphone/handset. Qualcomm knew,or was willfully
      blind, that the "Snapdragon chipsets (CPU)" products
      are configured to infringe Petitioner's T89,'439,'287,
      and '619 Patents upon normal use.

          Contributory patent infringement defines a means
      by which Qualcomm is held liable for patent infnngement.
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       This does not require Qualcomm to actually engage in
       the patent infringement. It is found when Qualcomm
       sells its Qualcomm Snapdragon Chipset component to
       be used in Petitioner's patented CMDC product or pro
       cess.



          Qualcomm's liability for contributory patent in
      fringement is defined by 35 U.S.C. § 271(c): "Whoever
       offers to sell or sells within the United States [] a com
      ponent of[] a material or apparatus for use in practic
      ing a patented process, constituting a material part of
      the invention, knowing the same to be especially made
      or especially adapted for use in an infringement of
      such patent, and not a staple article or commodity of
      commerce suitable for substantial non infringing use,
      shall be liable as a contributory infringer."
          Additional requirements for induced and contrib
      utory infringement includes proof that Qualcomm
      knew of Petitioner's patent, and acted, encouraged,in
      structed, or threaten,in a manner that infringed Peti
      tioner's patent, and knew or should have known that
      Qualcomm's acts would cause infringement of Peti
      tioner's patent(s). Must also prove that Qualcomm had
      specific intent that its actions would lead to the patent
      infringement.

          Qualcomm's knowledge of Petitioner's patents,
      and intent to directly and indirectly infringe Peti
      tioner's patents, goes back to at least year 2008:
          Petitioner sent President Bush, VP Cheney, and
      U.S. Senators Holland, DeMint, and Graham, three
      economic stimulus packages (SafeRack; V-Tection;
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       ATPG) as solutions to mitigating terrorism acts and
       stimulate the economy that included the technology
       rational for implementing each stimulus package.
           In support of the strategies and for implementa
       tion, President Bush, VP Cheney, and U.S. Senators
       Holland, DeMint, and Graham, sent the three eco
       nomic stimulus packages (SafeRack; V-Tection; ATPG)
       over to the Department of Homeland Security(DHS).
           Following Petitioner's "product grouping" strate
       gies, the DHS issued the DHS S&T BAA07-10 Cell-All
      Ubiquitous Biological and Sensing Solicitation with a
      request for proposal on developing Petitioner's new,
      improved upon, and useful patented cell phone. Peti
      tioner submitted a proposal for the BAA07-10 Cell-All
      solicitation.

          In 2008, the DHS awarded the white-owned com
      pany Qualcomm the prime contract, alone with six
      other white-owned companies, and a government
      agency (i.e., Synkera, Rheivision, SeaCoast, NASA,
      Qualcomm, Apple, Samsung, and LG)contracts to de
      velop and commercialize Petitioner's new, improved
      upon, and useful patented cell phone.
           The Petitioner, a Black and/or African American,
      who introduced the technology rational and specifica
      tions, and who hold several patents for the new, im
      proved upon, and useful patented cell phone was not
      awarded a contract; nor considered for a patent licens
      ing agreement.
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          "42 U.S.C. § 1981 prohibits race discrimina
          tion in the making and enforcing of con
          tracts. It prohibits racial discrimination
          against whites as well as nonwhites. See
          McDonald v. Santa Fe Trail Transp. Co., 427
          U.S. 273, 295 (1976) (Section 1981 was in
          tended to "proscribe discrimination in the
          making or enforcement of contracts against,
          or in favor of, any race"). In Runyon v.
          McCrary, 427 U.S. 160 (1976), the Supreme
          Court held that Section 1981 regulated pri
          vate conduct as well as governmental action."
          With the knowledge of Petitioner's intellectual
      property, it was always Qualcomm's intention to di
      rectly infringed Petitioner's patents while performing
      work for the Government, and with the protection of
      the Government to avoid infringement liability.
          "[A] 'form factor phone" developed by Qual-
          comm . . . DHS S&T secured Cooperative
          Research and Development Agreements with
          four primary cell phone manufacturers—
          Qualcomm, LG, Apple, and Samsung—
          with the objective of accelerating the "com
          mercialization of technology developed for
          government purposes" . . . as a Qualcomm
          representative argued: "Let's take advantage
          of the 300 million cell phones that are out
          there today They're always with us" (Hoff
          man, 2011) .. . Qualcomm's role has been to
          develop a smartphone app and the associated
          network software for processing data. Smart-
          phone users can download the app from
          Google Play and, eventually, from Apple's
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          iTunes store, so Cell-All will be operational
          on all phones using either Google's Ajidroid
          or Apple's iPhone operating systems." Crowd-
          sourcing urban surveillance: The development
          of homeland security markets for environmen
          tal sensor networks. Torin Monahan Jennifer
          T. Mokos.

          Petitioner alleged in the District Court that the
      copying and selling of Qualcomm's products [Qual-
      comm's Smartphone for Snapdragon Insiders and
      Qualcomm's Snapdragon Chipset-CPU's] that are cov
      ered in Petitioner patents, was made with actual
      knowledge of the patent(s), and intent to do so, satisfy
      the knowledge requirement for willful infringement.
          In Ansell Healthcare Prod. LLC v. Reckitt Benck-
      iser LLC, No. 15-CV-915-RGA, 2018 WL 620968 (D.
      Del. Jan. 30, 2018),"The court noted that, if a defend
      ant was willfully blind to a patent covering a product
      that it copied and then sold, it "could satisfy the
      knowledge requirement for willful infringement, be
      cause the defendant's willful blindness demonstrates
      the same level of culpability as if the defendant copied
      the product with actual knowledge of the patent."
          Because ofsystemic and structural racism; and be
      cause ofjudicial bias, the Petitioner [the Black and/or
      African American denied an award or license in the
      Cell-All initiative] was never allowed to present the
      above issues-of-fact to a jury of Qualcomm's knowledge
      and intent.
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          Petitioner demanded ajury because literal infringe
      ment, infringement under the doctrine of equivalents,
      induced infringement, contributory infringement, and
      willful infringement are all issues-of fact tried by a
      jury under the Seventh Amendment.The jury trial has
      long been the foundation of the American civil justice
       system and is deeply embedded in American culture.
          Petitioner's induced and contributory patent in
      fringement claims against Qualcomm are issues-of-
       fact tried by a jury under the Seventh Amendment.
       The jury trial has long been the foundation of the
      American civil justice system and is deeply embedded
      in American culture. As the Supreme Court has ob
      served,"[mjaintenance ofthejury as a factfinding body
      is of such importance and occupies so firm a place in
      our history and jurisprudence that any seeming cur
      tailment of the right to a jury trial should be scruti
       nized with the utmost care." Consistent with that
       approach, the Court has construed the Seventh
      Amendment broadly to protect the right to jury trial.

      IV. THE NORTHERN DISTRICT OF CALIFOR
           NIA COURT AND THE FEDERAL TRADE
           COMMISSION IN FTC V, QUALCOMM,411
           F. SUPP. 3d 658 (N.D. CAL. 2019), HAS AL
           READY INVESTIGATED AND DISCOVERED
           QUALCOMM DOES NOT HAVE THE PA
           TENT RIGHTS TO "USE" PETITIONER'S
           PATENTED SMARTPHONE INVENTION
           TO COLLECT BILLIONS IN ROYALTIES

          Petitioner presented the district court's findings
      in FTC V. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal.
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      2019) as evidence Qualcomm was unjustly enriching
      itself by collecting royalties of5% on each handset(i.e.,
      new,improved upon, or useful cell phone)sold. District
      Judge Lucy H. Koh concluded Qualcomm is being un
      justly enriched from its anticompetitive practices:
          "Qualcomm stopped licensing rival modem
          chip suppliers and instead started licensing
          only OEMs (i.e., Samsung, Google, etc.) at a
          5% running royalty on the price ofeach hand
          set sold. These licenses are called Subscriber
          Unit License Agreements ("SULA")"
          "Specifically, Qualcomm charges a 5% run
          ning royalty on handset sales for a license to
          Qualcomm's CDMA patent portfolio. Qual-
          comm's 5% royalty rate on the price of each
          phone sold is a species of unfair competition.
          The Federal Trade Commission Act bans "un
          fair methods of competition" and "unfair or
          deceptive acts or practices."
              "Qualcomm has capped the maximum
              royalty base or net selling price of the
              handset at $400. Tr. at 1979:19-23; see
              also JX0122-010 (royalty base cap in
              SULA between Samsung and Qual
              comm). In some SULAs, Qualcomm
              charges an upfront fee in addition to the
              running royalty rate on handset sales.
              See JX0042-011"

              "Under the 2004 SULA Amendment,LGE
              paid Qualcomm a 5% running royalty on
              handsets containing Qualcomm modem
              chips and a 5.75% running royalty on
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                handsets containing non-Qualcomm mo
                dem chips". . ."Under the May 2012 Sony
                Interim License, Sony agreed to provi
                sionally pay Qualcomm a 5% royalty on
                CDMA handsets" . . . "The 2014 SULA
                requires Huawei to pay a 5% running roy
                alty rate on devices containing WCDMA
                technology and a 3.5% running royalty
                rate on devices containing LTE technol
                ogy    "
           This evidence was never disputed by Qualcomm
      and the evidence was never rejected at the Ninth Cir
      cuit. See id. n 76-78; cf. FTC v. Qualcomm Inc., 969
      F.3d 974, 1001-1002 (9th Cir. 2020)(finding no anti
      trust violation based on "no license, no chips"). Qual-
      comm's 5% running royalty on the price of each
      handset sold, and Qualcomm's "no license, no chips"
      policies are separate issues that harms the Patent Sys
      tem and Petitioner; not competitors.
           Qualcomm is being unjustly enriched for charging
      a 5% royalty rate per the price of the phone, i.e.. Peti
      tioner's CMDC device; handset; smartphone, etc. Peti
      tioner has the right to exclude Qualcomm from "using"
      Petitioner's CMDC devices—handsets to unjustly en
      rich itself.

           Petitioner is entitled to stop Qualcomm's "use" of
      Petitioner's inventions to generate revenue(5% royalty
      on each handset sold) by seeking a legal injunction in
      Federal Court.
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           The Trial Court further restrains Petitioner from
       possibly collecting damages by refusing Petitioner his
       Seventh Amendment right to a trial-by-jury.
           Under patent law Petitioner can collect damages
      for Qualcomm's unauthorized and illegal "use" of Peti
      tioner's patented CMDC(smartphone) devices.
           Also, the described antitrust injury to Petitioner is
      of a t3^e that the antitrust laws were intended to pre
      vent; and the Petitioner's injury flows from that which
      makes Qualcomm's acts unlawful. The FTC bans "un
      fair or deceptive acts or practices."
           It has been the Petitioner's experience, as an Afri
      can American inventor who own patents, and the right
      to exclude others from making, using, offering for sell,
      and selling Petitioner's patented inventions, and the
      right to sue infringers; that the experience is no differ
      ent than someone who decides to sue without owning
      patents.

           Petitioner owns the patents rights for the
      smartphone. The specific patents at issue in this case
      for the Petitioner's patented "new,improved upon, and
      useful cell phone and smartphone" are U.S. Patents
      9,589,439 ("the '439 patent") that includes eleven (11)
      independent patent claims for the smartphone (i.e.,
      new, improved upon, and useful "cell phone");
      9,096,189 ("the '189 patent") that includes nine (9)in
      dependent patent claims for the smartphone (i.e., new,
      improved upon, and useful "cell phone"); 10,163,287
      ("the '287 patent") that includes six (6) independent
      patent claims for the smartphone (i.e., new, improved
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      upon, and useful "cell phone"); and, 10,984,619 ("the
      '619 patent") that includes two (2)independent patent
      claims and eighteen (18) dependent patent claims for
      the smartphone (i.e., new, improved upon, and useful
      "cell phone"). That's a combined total of forty-six (46)
      independent and dependent patent claims for Peti
      tioner's patented smartphone (i.e., new, improved
      upon, and useful "cell phone").
          How is it possible the District Court and Appellate
      Court can ignore Petitioner's forty-six (46) independ
      ent and dependent patent claims for Petitioner's pa
      tented smartphone and allow Qualcomm to collect tens
      of billions in royalties each year on the sale of millions
      of smartphones that Qualcomm does not have the pa
      tent rights on;"But-For" Qualcomm is a White-owned
      company and the Petitioner is a Black and/or African
      American?

           On March 23, 2020, the Supreme Court of the
      United States, in Comcast Corp. v. National Associa
      tion of African-American Owned Media, ruled that a
      plaintiff who alleges race discrimination [] has the []
      burden of showing that race was a [B]ut-for cause of[1
      injury.
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       V.    THE U.S. COURT OF APPEALS FOR THE
             FEDERAL CIRCUIT IN GOLDEN V.
             GOOGLE, CASE NO. 22-1267, HAS AL
             READY DETERMINED A "SMARTPHONE"
             LITERALLY INFRINGES CERTAIN INDE
             PENDENT CLAIMS OF PETITIONER'S PA
             TENTS; THEREFORE, THE BURDEN
             IS ON QUALCOMM TO SHOW ITS
             SMARTPHONE AND THE THOUSANDS
             OF SMARTPHONE MODELS QUALCOMM
            COLLECTS A 5% RUNNING ROYALTY
            FROM DOES NOT INFRINGE THE SAME
            INDEPENDENT   CLAIMS  OF   PETI-
             TIONER'S PATENTS

            The Federal Circuit on 09/08/2022, in Larry
      Golden v. Google LLC, Case No. 22-1267~''VACATED
      AND REMANDED" the relevant Case No. 22-1267
      Document 15; back to the District Court "to be filed and
      request service of process". The Federal Circuit deter
      mined the complaint,"includes a detailed claim chart
      mapping features of an accused product, the Google
      Pixel 5 [species] Smartphone [genus], to independent
      claims from U.S. Patent Nos. 10,163,287, 9,589,439,
      and 9,069,189" . . . "in a relatively straightforward
      manner".. .

            "Mr. Golden's complaint includes a detailed
            claim chart mapping features of an accused
            product, the Google Pixel 5 Smartphone, to
            independent claims from U.S. Patent Nos.
            10,163,287, 9,589,439, and 9,069,189 ... It
            [claim chart] attempts[] to map claim limita
            tions to infringing product features, and it
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           does so in a relatively straightforward man
           ner ...[W]e conclude that the district court's
           decision in the Google case is not correct with
           respect to at least the three claims mapped
           out in the claim chart. Mr. Golden has made
           efforts to identify exactly how the accused
           products meet the limitations of his claims in
           this chart... ."

            Under 35 U.S.C. § 282: "[a] patent shall be pre
       sumed valid. Each claim of a patent(whether in inde
       pendent,dependent,or multiple dependent form)shall
       be presumed valid independently of the validity of
       other claims; dependent or multiple dependent claims
       shall be presumed valid even though dependent upon
       an invalid claim. The burden of establishing invalidity
       of a patent or any claim thereof shall rest on the party
       asserting such invalidity".

           The Petitioner has asserted forty-six (46) pre
      sumed valid independent and dependent patent claims
      for the Petitioner's patented smartphone (i.e., new,im
      proved upon, and useful "cell phone") invention and
      twenty-three (23)presumed valid independent and de
      pendent patent claims for a "central processing unit
      (CPU)" designed for Petitioner's smartphone inven
       tion.

           How is it possible the District Court and Appellate
       Court can ignore Petitioner's forty-six (46) independ
       ent and dependent patent claims for Petitioner's pa
      tented smartphone and allow Qualcomm to collect tens
      of billions in royalties each year on the sale of millions
      of smartphones that Qualcomm does not have the
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      patent rights on,without compelling Qualcomm to pre
      sent evidence its smartphone and the smartphone
      brand/models Qualcomm collects a running 5% royalty
      from does not infringe Petitioner's patents; "But-For"
      Qualcomm is a White-owned company and the Peti
      tioner is a Black and/or African American?

            On March 23, 2020, the Supreme Court of the
      United States, in Comcast Corp. v. National Associa
      tion of African-American Owned Media, ruled that a
      plaintiff who alleges race discrimination under 42
      U.S.C. § 1981 must plead and has the ultimate burden
      ofshowing that race was a [B]ut-for cause of the plain
      tiff's injury, and that burden remains constant over
      the life of the lawsuit.



      VI. SYSTEMIC/STRUCTURAL RACISM AND
           JUDICIAL BIAS AGAINST PETITIONER,
           A BLACK AND/OR AFRICAN AMERICAN
           LITIGANT, IN THE DISTRICT AND AP
           PELLATE COURTS

          The Supreme Court must deliver justice in this
      case, in a manner that inspires public trust and confi
      dence. The Supreme Court must inform the District
      Court and the Appellate Court that all individuals
      must be treated fairly and impartially in every inter
      action with the court system. To achieve public trust
      and confidence, the existence of systemic racism in Pe
      titioner's case against Qualcomm must be acknowl
      edged.
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           Specifically, the Supreme Court must recognize
       that the Petitioner, a Black and/or African American,
       who have contact with the legal system through the
       various Courts, have often not been treated equitably
       or with the same dignity and respect as Petitioner's
       white counterparts.
           Systemic and structural racism are forms of rac
       ism that are pervasively and deeply embedded in sys
       tems, laws, and entrenched practices and beliefs that
       produce, condone, and perpetuate widespread unfair
       treatment and oppression of Blacks and/or African
       Americans.They refiect both ongoing and historical in
      justices.

           An example of systemic racism and judicial bias:
      As an African American inventor who has in the past,
      and currently is, suing White-owned companies like
      Qualcomm for infringement, the District and Appel
      lant Courts opinions are the same as if someone, any
      one, tried to sue without a patent. Examples: 1- the
      case is frivolous; 2- did not state a claim for relief; 3-
      lack subject matter jurisdiction; 4- we are not per
      suaded; 5- did not state enough facts; 6- page-count is
      to high; 7- barred by preclusion; 8- barred by the Kess-
      ler doctrine; 9- time-barred because of statute of limi
      tation; 10- don't deserve oral argument; 11- have not
      stated an injury; 12- cannot claim patent infringement
      as a takings; 13- cannot claim CPUs as CBRNE sen
      sors; 14- cannot identify sensors inside the device; 15-
      cannot prove infringement; and, 16- don't deserve a
      chance to amend.
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            An example ofjudicial bias against Petitioner as a
       Black and/or African American: Under the DHS Cell-
       All initiative, Qualcomm entered into a contract with
       the DHS ["the Government"] to assemble and commer
       cialize Petitioner's new,improved upon, and useful cell
       phone devices and CPUs, alone with NASA, and six
       other White-owned companies [Synkera, SeaCoast,
       Apple, Samsung, LG, and Rhevision], who was tasked
       with developing and manufacturing the CBRNE sen
       sors and detectors.

           The CFC Court knew, or should have known,that
      the "Cell-AU" cell phone sensing device could never be
      "suitable for use" without the inclusion of the CBRNE
      sensors of NASA, Sjmkera, SeaCoast, and Rhevision,
      and CPUs of Qualcomm.

          The Federal Circuit in FastShip,LLC v. U.S.,"[W]e
      interpret"manufactured"in § 1498[1 such that a prod
      uct is "manufactured" when it is made to include each
      limitation of the thing invented and is therefore "suit
      able for use". Petitioner's CMDC cell phone sensing de
      vice limitations requiring CBR sensors and CPUs was
      rejected by the CFC Court as enhancing or enlarging
      the case, and was thereby dismissed.
          The prime contractor in the case Qualcomm re
      sponsible for providing three of the four major compo
      nents of the new and improved cell phone, alone with
      all the other contractors with the exception of Apple,
      was dropped from the case.

          An example ofjudicial bias against Petitioner as a
      Pro Se litigant: Mr. Anthony Johnson was a Pro Se
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      litigant who experienced judicial bias in very much the
      same way as Petitioner. The major difference is Mr.
      Johnson was at least granted a jury trial. See Storix,
      Inc. V. Anthony Johnson—Case Study-Judicial
      Bias. Topics: "Judicial Abuse Against Pro Se Civil Lit
      igants"; "Bias Against Pro Se Litigants"; "Judicial
      Abuse is Pervasive and Unchecked";"The More Clear
      the Judicial Bias, the More Likely the Decisions Will
      Be Upheld on Appeal"; "The Most Abused Civil Liti
      gant in US. History that Multiple Courts Will Stop at
      Nothing to Keep Quiet". https://www.judicial-
      abuse.com/pro-se-bias
           Mr. Johnson's legal research, pleadings and argu
      ments far surpassed that of the prestigious attorneys
      who opposed him. And that's why you will never see
      Mr. Johnson's arguments in any ofthe orders and opin
      ions of the courts. The judges simply would not allow a
      self-represented plaintiff to win against their favored
      attorneys; but they concealed their judicial bias in am
      biguous rulings that left out anything that would show
      the absurdity of their decisions.
           Mr. Johnson's case disproves the common miscon
      ception that everyone who complains about a biased
      judge is just a disgruntled loser. It took a pro se litigant
      to expose the rampant bias of civil courtjudges, and no
      one, other than the Petitioner, a Black and/or African
      American, has endured such clear legal abuse by so
      many judges, that has lasted so long against the Big-
      Law attorneys they support.
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           In July of this year 2023, Mr. Johnson committed
       suicide. While it cannot be proven at this point,it is the
       belief of Petitioner that the ex-employees; the trial
       courtjudges; and,several courts of appeals caused the
       decision of Mr.Johnson to end his life. Mr. Johnson was
       tasked with defending himself against a bunch of evil
       people and a stable of corrupted Judges."Ditto".


      VII. THE FIFTH AMENDMENT "DUE PRO
           CESS"CLAUSE OF THE UNITED STATES
             CONSTITUTION

           The Due Process Clause of the Fifth Amendment
      generally prohibit federal governments [judges in
      cluded] from "depriving any person of [intellectuall
      property, without due process of law." Due process,
      while not "precisely defined," generally refers to a "fun
      damental fairness" requirement when the government
      [judges included] seeks to burden an individual's prop
      erty interests. According to the Supreme Court, the
      "touchstone" of due process is "the protection of the in
      dividual against arbitrary action of government
      [judges]."
           Without due process of law and without research
      ing the facts in Golden v. USA C13-307C) to discover it
      was the DHS who awarded in 2008, seven White-
      owned companies and a government agency [Qual-
      comm, Synkera, Apple, Rhevision, SeaCoast, NASA,
      Samsung,LG] contracts to develop and commercialize
      the intellectual property of the Petitioner; the Black
      and/or African American, who submitted a proposal in
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       response to the DHS S&T BAA07-10 solicitation; Jus
       tice Breyer in Return Mail v. U.S. Postal Service dis
       sented on behalf of the DHS and the prime contractor
       Qualcomm with comments that placed Petitioner's life
       and the lives of Petitioner's family in danger.
           "Justice Breyer dissents in Return Mail, Inc.
           V. United States Postal Service et al. 587 U.S.
               (2019) When, for example, the Depart
           ment of Homeland Security recently insti
           tuted a research initiative to equip cell phones
           with hazardous-materials sensors in order to
           mitigate the risk of terrorist attacks, it faced
           an infringement lawsuit that threatened to
           interfere with the project. See Golden v.
           United States, 129 Fed. Cl. 630 (2016); Brief
           for Prof. Tejas N. Narechania as Amicus Cu-
           riae 9."

           What if, an American patriot who believes Peti
      tioner is working for terrorist and is placing him and
      his family lives in danger, may take it upon himself to
      end the threat that interferes with the DHS initiative
      to mitigate terrorist attacks.

           The District court in this current case, Golden v.
      Qualcomm, participated in the takings of Petitioner's
      property without due process of law, by admitting the
      Court never adjudicated Petitioner's case on the mer
      its; the Appellate court erred in affirming the lower
      court's dismissal.

          In Larry Golden v. Qualcomm,Inc. "Order Grant
      ing Motion to Dismiss"; Case 4:22-cv-03283-HSG Doc
      ument 49 Filed 03/15/23 Page 3 of6:"[bjecause Golden
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      neither breaks his allegations down into counts, nor
      provides a numbering system ...[t]he Court's chal
      lenge here is compounded because Plaintiff has at
      tached nearly 1,200 pages of documents to the
      complaint" . . . "[t]he Court need not^ and will not,
      wade through the attachments . . . Petitioner's
      patent infringement claims against Quaicomm is an
      issue-of-fact tried by a jury under the Seventh Amend
      ment. The attachments show evidence of Qualcomm's
      knowledge,willful infringement, direct and indirect in
      fringement.

          The District Court, by its own admission, never
      adjudicated the case on the merits. The Court immedi
      ately ruled in Qualcomm's favor without due process of
      law. How is it possible "But For" Quaicomm is a White-
      owned company and the Petitioner is a Black and/or
      African American.



      VIIL THE DISTRICT COURT DENIED PETI
           TIONER HIS SEVENTH AMENDMENT
            RIGHT TO A TRIAL BY JURY

           This Court has enough facts to reverse the lower
      Court's decision to deny Petitioner his Seventh Amend
      ment right to a jury, and Qualcomm's infringement li
      ability. Petitioner's patent infringement claims against
      Quaicomm are issues-of-fact to be tried by ajury under
      the Seventh Amendment.

          If this Court decides to ignore Petitioner's claim
      that Quaicomm is unjustly enriching itself when Quai
      comm collects 5% running royalties on the price of each
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      of Petitioner's patented new,improved upon, and use
      ful cell phone; smartphone, and NOT order a trial, the
      Court is literally setting new precedence that the Con
      stitutional provision which states "anyone who makes,
      uses, offers for sell, or sells patented others, without
      authorization, is liable for direct infringement as de
      fined by 35 U.S.C. § 271Ca), induced infringement as
      defined by 35 U.S.C. § 271(b), and, contributory in
      fringement as defined by 35 U.S.C. § 271(c)" is no
      longer valid and any company who wants to "use" an
      other's patented invention to collect a running royalty
      on the price of the invention, is free to do so without
      fear of being accused of infringing.
          If this Court decides to ignore Petitioner's patents
      and patent claims asserted in this case, the Court is
      substantiating a "loop hole" for invalidating patents
      and patent claims without claim construction or a
      Markman hearing. The "loop hole" is: by den3dng or
      avoiding trial at all cost, Qualcomm does not have to
      prove the patents and patent claims are invalid,
      thereby invalidating the patents and patent claims
      and rendering them worthless against Qualcomm.
          The Constitutional provision for invalidating pa
      tents and patent claims is no longer applicable or rele
      vant. The Supreme Court in Microsoft v. i4i affirmed
      that 35 U.S.C. § 282 ofthe Patent Act requires an inva
      lidity defense to be proved by clear and convincing ev
      idence.

           The primary purpose of the Seventh Amendment
      is to preserve the common law distinction between the
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      province of the court and that of the jury, whereby, in
      the absence of express or implied consent to the con
      trary,issues oflaw are resolved by the court and issues
      of fact are to be determined by the jury under appro
      priate instructions by the court. Baltimore & Carolina
      Line v. Redman, 295 U.S. 654, 657 (1935); Walker v.
      New Mexico & So. Pac. R.R., 165 U.S. 593, 596 (1897);
      Gasoline Products Co. v. Champlin Ref. Co., 283 U.S.
      494, 497-99 (1931); Dimick v. Schiedt, 293 U.S. 474,
      476,485-86(1935).




                        CONCLUSION

          For the foregoing reasons, the Court should grant
      this petition.
                          Respectfully submitted,
                          Larry Golden,Petitioner, Pro Se
                          740 Woodruff Rd., #1102
                          Greenville, South Carolina 29607
                          (864)288-5605
                          atpg-tech@charter.net
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                                                             No.


                                                           LARRY GOLDEN,
                                                                Petitioner,
                                                                      V.

                                                          QUALCOMM INC.,
                                                            Respondent.

                                                 CERTIFICATE OF COMPLIANCE

                  As required by Supreme Court Rule 33.1(h), I certify that the PETITION FOR WRIT OF
         CERTIORARI in the above entitled case complies with the typeface requirement of Supreme Court
         Rule 33.1(b), being prepared in New Century Schoolbook 12 point for the text and 10 point for the
         footnotes, and this brief contains 8997 words, excluding the parts that are exempted by Supreme
         Court Rule 33.1(d), as needed.




Subscribed and sworn to before me this 5th day of January, 2024.
I am duly authorized under the laws of the State of Nebraska to administer oaths.



         State of Nebraska - General Notary
                 ANDREW COCKLE
              My Commission Expires
                    April 9, 2026
                                                      Notary Public                            Affiant        v


                                                                                                                                    44630
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                               App. 1

           Note: This disposition is nonprecedential.
                United States Court of Appeals
                    for the Federal Circuit


                        LARRY GOLDEN,
                        Plaintiff-Appellant
                                 V.


                QUALCOMM INCORPORATED,
                    Defendant-Appellee


                            2023-1818


          Appeal from the United States District Court for
      the Northern District of California in No. 4:22-cv-
      03283-HSG, Judge Haywood S. Gilliam, Jr.


                    Decided: October 10, 2023

          Larry Golden, Greenville, SC,pro se.
          John Allen Yates, Patterson & Sheridan LLP,
      Houston,TX,for defendant-appellee. Also represented
      by Kyrie Cameron.


          Before Lourie, Bryson, and Chen, Circuit Judges.
      Per Curiam.

          Larry Golden appeals from an order of the United
      States District Court for the Northern District of Cali
      fornia dismissing his antitrust, patent infringement,
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                               App. 2

       and unjust enrichment claims. Golden v. Qualcomm,
      Inc., No. 22-CV-03283, 2023 WL 2530857 (N.D. Cal.
       Mar. 15, 2023) {"Decision^'). For the following reasons,
       we affirm.


                           Background

           Golden owns various patents directed to systems
      for locking, unlocking, or disabling a lock upon the de
      tection of chemical, radiological, or biological hazards.
      The specific patents at issue in this case are U.S. Pa
      tents 9,589,439("the'439 patent"),9,096,189("the 189
      patent"), 10,163,287 ("the '287 patent"), 10,984,619
      ("the'619 patent"). Appellant's Br. at 2. On several pre
      vious occasions. Golden has unsuccessfully asserted in
      fringement of those patents against other defendants.
      See,e.g., Golden v. Apple Inc., No. 2023-1161, 2023 WL
      3400595(Fed. Cir. May 12,2023); Golden v. Intel Corp.,
      No. 2023-1257, 2023 WL 3262948 (Fed. Cir. May 5,
      2023); Golden v. United States, No. 2022-1196, 2022
      WL 4103287(Fed. Cir. Sept. 8, 2022).
           Golden filed the present suit against Qualcomm
      Inc.("Qualcomm") on June 6, 2022. The district court
      interpreted the complaint,which included nearly 1,200
      pages of attachments, as alleging (1) patent infringe
      ment,(2) antitrust violations, and (3) unjust enrich
      ment. Decision at *2. After Qualcomm moved to
      dismiss Golden's complaint for failure to state a claim
      under Rule 12(b)(6) of the Federal Rules of Civil Pro
      cedure, the district court granted the motion without
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       leave to amend. Decision at *4. Golden appeals. We
       have jurisdiction under 28 U.S.C. § 1295(a)Cl).


                            Discussion

           This court applies the law of the regional circuit
      when reviewing a motion to dismiss. In re Bill ofLad
      ing Transmission & Processing Sys.Pat. Litig.,681 F.3d
       1323, 1331 (Fed. Cir. 2012). The Ninth Circuit reviews
       challenges to a dismissal for failure to state a claim
       under Rule 12(b)(6)de novo. Decker v. Advantage Fund,
      Ltd., 362 R3d 593, 595 (9th Cir. 2004).
          Rule 12(b)(6) requires "well-pleaded facts, not le
      gal conclusions, that plausibly give rise to an entitle
      ment to relief." Whitaker v. Tesla Motors, Inc., 985 F.3d
      1173, 1176 (9th Cir. 2021) (citing Bell Ail. Corp. v.
      Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal,
      556 U.S. 662,679(2009)).

           Because Golden appeals the district court's dis
      missal as to each of his (1) patent infringement,(2) an
      titrust violation, and (3) unjust enrichment claims, we
      discuss each issue in turn.


                                 I

           Regarding patent infringement, although a plain
      tiff"need not prove its case at the pleading stage" and
      "is not required to plead infringement on an element-
      hy-element basis," it "cannot assert a plausible claim
      for infringement under the Iqbal/Twombly standard by
      reciting the claim elements and merely concluding
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                               App. 4

       that the accused product has those elements."      M8
       LLC V. Sony Corp. ofAm.,4 F.4th 1342, 1352-53 (Fed.
       Cir. 2021)(internal citations and quotations omitted).
           The district court here found that Golden failed to
       adequately plead (1) direct infringement,(2) contribu
       tory infringement, or (3) induced infringement. Deci
      sion at '"'3.

          Concerning direct infringement, the district court
      faulted Golden for failing to explain what Qualcomm
      product supposedly infringed the asserted patents, or
      how.Id. Although the complaint did include two claim
      charts,the district court found those irrelevant as they
      only covered products produced by two non-parties,
      GM and Samsung,not Qualcomm.Id.
           On appeal. Golden argues that he "illustrates how
      Qualcomm is infringing Plaintiff's patented ... de
      vices" and provides several technical specification ta
      bles and figures relating to Qualcomm's "Snapdragon"
      chipset. Appellant's Br. at 11-26. Qualcomm responds
      that Golden added new factual allegations in his oppo
      sition and reply brief at the district court, as well as
      in his opening brief on appeal, that were not included
      in his district court complaint. Appellee's Br. at 23.
      Qualcomm further argues that even if those belated
      arguments are considered, they still do not state a
      plausible direct infringement claim. Id.
          We agree with the district court that Golden's com
      plaint failed to sufficiently plead a claim for direct in
      fringement. It failed to clearly identify which specific
      claims of the asserted patents are being inftinged.
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       Furthermore, Golden's complaint failed to clearly iden
       tify which Qualcomm products infringe the asserted
       patents. To the extent that references in the complaint
       can be read to imply that Qualcomm's"phone for Snap
       dragon Insiders" and/or "Snapdragon Ride Platform"
       are the alleged infringing products, S.A. 40-42, the
       complaint did not adequately explain how those prod
       ucts infringe the asserted patent claims. As the district
       court noted, Golden included two claim charts in his
       complaint. Decision at "'3. However,these claim charts
       only reference products made by two non-parties, GM
       and Samsung, not products made by Qualcomm, the
       accused infringer in this case.
           Golden argues that the claim charts in this com
      plaint are enough to adequately plead patent infringe
      ment because they "mirror" a claim chart presented in
      a previous case. Golden v. Apple Inc., No. 2022-1229,
      2022 WL 4103285(Fed. Cir. Sept. 8, 2022). Appellant's
      Br. at 2. However, Golden's complaint contains no such
      reliance on that previous claim chart, neither directly
      nor through incorporation by reference. Such a refer
      ence on appeal is improper, as a complaint must in
      clude "enough facts to state a claim to relief that is
      plausible on its face." Twombly,550 U.S. at 570.
           Moreover, Golden v. Apple Inc. provides no help in
      this context because this court explicitly stated there
      that "[w]e express no opinion as to the adequacy of the
      complaint or claim chart except that it is not facially
      frivolous." Golden v. Apple Inc., No. 2022-1229, 2022
      WL 4103285, at *2 (Fed. Cir. Sept. 8, 2022). We made
      clear that "the district court should allow the
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                                   App.6

      complaint to be filed and request service of process;"
      however,"[o]ur decision [did] not preclude subsequent
      motions to dismiss by the defendant for failure to state
      a claim."Id. We thus agree with the district court that
      Golden failed to adequately plead direct infringement
      by Qualcomm or its customers, as his complaint does
      not include allegations beyond the identity of the de
      fendant, implied references to the alleged infringing
      devices, and the alleged infringed-upon patents.^ Deci
      sion at ""'2-3; see also Golden v. Apple, No. 20-cv-04353,
      2021 WL 5074739 at '^'2, aff'd as to that holding,
      No.22-1229,2022 WL 4103285(Fed. Cir. Sept.8,2022).
           Because Golden has failed to adequately plead di
      rect infringement by Qualcomm or its customers in
      this case, his complaint also fails to sufficiently plead
      contributory or induced infringement. See Deepsouth
      Packing Co. v. Laitram Corp., 406 U.S. 518 (1972). We
      thus agree with the district court that "[Golden] fails
      to plausibly or adequately plead patent infringement."
      Decision at "^2.




          ^ For the first time in this case, in a supplemental appendix
      attached to his Appellant's Reply Brief, Golden included a claim
      chart mapping features of Qualcomm's Snapdragon phone to
      limitations in specific claims of the asserted patents. Appellant's
      Reply Brief Appendix at 85-92. Such a submission is untimely and
      will not be considered. A complaint must include "enough facts to
      state a claim to relief that is plausible on its face." Twombly,550
      U.S. at 570; see also Braun Inc. v. Dynamics Corp. of Am., 975
      F.2d 815, 821 (Fed. Cir. 1992)("We generally will not consider
      issues that were not presented in the district court."(internal ci
      tations omitted)).
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                                 II

           A party seeking to bring a private antitrust action
       must establish antitrust injury. American Ad Mgmt.,
      Inc. u. Gen. Tel. Co. of Gal, 190 F.3d 1051, 1054 & n.3
      (9th Cir. 1999); Cargill,Inc. v. Monfort ofColorado,Inc.,
      479 U.S. 104,110 n.5 (1986). To plead antitrust injury,
      a party must allege that it suffered the suffered the
      t3^e ofinjury that antitrust laws were designed to pre
      vent. Amer/can A(i Mgmt,190 F.3d at 1055, 1057.The
      Supreme Court has identified five factors for determin
      ing whether a plaintiff who has borne an injury has
      antitrust standing:(1) the nature of the plaintiff's al
      leged injury; that is, whether or not it was the type the
      antitrust laws were intended to forestall,(2)the direct
      ness of the injury,(3) the speculative measure of the
      harm,(4) the risk of duplicative recovery, and (5) the
      complexity in apportioning damages.Id. at 1054(sum
      marizing the factors identified in Associated Gen. Con
      tractors of California, Inc. v. California State Council
      of Carpenters, 459 U.S. 519(1983)). Although no single
      factor is dispositive, id. at 1055 (citing R.C. Dick Geo-
      thermal Corp. v. Thermogenics, Inc., 890 F2d 139, 146
      (9th Cir.1989)(en banc)), the injured party must "be a
      participant in the same market as the alleged malefac
      tors," Bhan v. NME Hosps., Inc., 772 F2d 1467, 1470
      (9th Cir. 1985){citing Associated Gen. Contractors,459
      U.S. at 538-39).

          The district court found Golden's antitrust claims
      to be frivolous based on his failure to plead antitrust
      standing. Decision at *2. The court found that Golden
      did not allege that he is a participant in the same
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      market as Qualcomm or that he suffered antitrust in
      jury in that market. Id. Rather, the court found that
      Golden failed to allege the contours of the relevant
      market whatsoever. Id.

           On appeal, Golden argues that the district court
      misinterpreted his antitrust injury claim by discount
      ing the evidentiary value provided by Federal Trade
      Commission v. Qualcomm Inc., 411 F. Supp. 3d 658,
      675 (N.D. Cal. 2019), reu'd and vacated, 969 F.3d 974
      (9th Cir. 2020) regarding a running royalty rate
      charged by Qualcomm. Appellant's Br. at 5-6. Golden
      also argues that the district court did not give ade
      quate weight to his "tying" arrangement arguments.
      Id. at 7. Qualcomm responds that (1) Golden's anti
      trust claims are time-barred,(2) Golden failed to ade
      quately plead his participation in the same market as
      Qualcomm, and (3) Golden failed to adequately plead
      injury suffered in that market. Appellee's Br. at 14-18.
           Although Golden's complaint contains general al
      legations that Qualcomm's activities "substantially af
      fected the flow of interstate commerce," S.A. 23,it fails
      to allege that Golden is a participant in the same mar
      ket as Qualcomm.In fact, Golden's complaint seems to
      allege that he is not a participant in the same market
      as Qualcomm. S.A. 36 ("Qualcomm's anticompetitive
      practices has [sic] restrained Plaintiff from entering
      the market to collect royalties on his patented inven
      tions."). Moreover, Golden's complaint fails to ade
      quately address his injury's directness, speculative
      nature, or complexity in apportioning damages. In
      stead,the complaint alleges injury only in a conclusory
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       fashion.See,e.g.,S.A.36("Qualcomm's anticompetitive
       practices has [sic] restrained Plaintiff from entering
       the market to collect royalties on his patented inven
       tions. Plaintiffis entitled to collect damages for any un
       licensed use of his inventions. Damages are generally
       calculated based on lost profits Plaintiff suffered as a
       result ofthe use."). Although Golden's complaint seems
       to reference patent infringement as the purported in
      jury in this way, we have determined that Golden
       failed to properly plead patent infringement,supra.
            To the extent that Golden attempts to premise his
       antitrust claim on a barrier to entry, we agree with the
       district court that this is "fatally implausible," as
       Golden "is free to license his patents to whoever wants
       to license them, but [Golden's conclusory] theory does
       not state a viable antitrust claim." Decision at *2.
      Golden's arguments on appeal explaining the limited
      relevance ofa district court case that was subsequently
      reversed and vacated,and clarifying his tying claim, do
      not remedy the insufficiency of his pleading. We thus
      agree with the district court that Golden has failed to
      plausibly plead an antitrust claim.


                                 Ill

           Based on Golden's failure to state a claim for pa
      tent infringement, the district court held that he also
      failed to state a claim for unjust enrichment.This court
      has recognized that "unjust enrichment is not recog
      nized under California law as a separate cause of ac
      tion." Golden v. Intel Corp., No. 2023-1257, 2023 WL
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      3262948, at *2 n.3 (Fed. Cir. May 5, 2023) (citing
      McBride v. Boughton, 123 Cal. App. 4th 379, 387
      (2004)). Because Golden failed to adequately plead pa
      tent infringement,we agree with the district court that
      he also failed to state plausible a claim for unjust en
      richment.



                           Conclusion

          We have considered Golden's remaining argu
      ments but find them unpersuasive. For the foregoing
      reasons,the order of the district court is affirmed.
                          AFFIRMED
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                              App. 11

                UNITED STATES DISTRICT COURT

           NORTHERN DISTRICT OF CALIFORNIA


      LARRY GOLDEN,              Case No. 22-cv-03283-HSG
                Plaintiff,       ORDER GRANTING
           V.                    MOTION TO DISMISS

      QUALCOMM,INC.,             Dkt. No.6

                Defendant.       (Filed Mar. 15, 2023)


      I.   BACKGROUND

           This case is one of several Plaintiff has filed in
      different districts over a period of years raising over
      lapping or materially identical claims. See Golden v.
      Intel Corp., No. 22-cv-03828-NC, 2022 WL 17735388,
      at =^^4-5 (N.D. Cal. Nov. 22, 2022), Dkt. No. 31 at 4-5,
      7-8 (order granting motion to dismiss without leave to
      amend and listing prior cases); Golden v. Apple, Inc.,
      No. 22-cv-04152~VC (N.D. Cal. Oct. 20, 2022), Dkt. No.
      29 (dismissing complaint without leave to amend, and
      observing that "Golden has been pressing these frivo
      lous claims (or some variation thereof) for nearly 10
      years in multiple jurisdictions").

           With one exception, every case of which the Court
      is aware in which a court has issued a ruling has been
      dismissed as frivolous, in either this district, the Dis
      trict of South Carolina, or the Federal Court of Claims.
      Golden v. Apple Inc., No. 19-cv-02557-DCC, 2020 WL
      415896, at *2-3 (D.S.C. Jan. 27, 2020), aff'd, 819 Fed.
      App'x. 930, 931 (Fed. Cir. 2020) (affirming dismissal
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      "not on the basis of duplicity, but on the ground offriv-
      olousness"); Golden V.Apple Inc., No. 20-cv-02270-JD-
      KFM, 2021 WL 4260782, at ^^2-3 (D.S.C. Sept. 20,
      2021), aff'd, No. 21-2160, 2022 WL 986984, at *1 (4th
      Cir. Mar. 31, 2022); Golden v. Apple Inc., No. 20-cv-
      04353-JD-KFM, 2021 WL 5074739, at *2-3 (D.S.C.
      Nov. 2, 2021), affd, No. 22-1229, 2022 WL 4103285, at
      *2(Fed. Cir. Sept. 8, 2022); Golden v. Google, LLC, No.
       21-CV-00244-JD-KFM, 2021 WL 5083804, at *3(D.S.C.
       Nov. 2, 2021); Golden v. Intel Corp., No. 22-03828-NC,
       2022 WL 17735388, at *4-5; Golden v. Apple, Inc., No.
       22-CV-04152-VC.

           In particular,the Court of Claims dismissed Plain
      tiff's case against the United States government, in
      which he alleged that the government "caused cell
      phone manufacturers," including Qualcomm, "to pro
      duce devices that infringe on one or more of his pa
      tents." Golden v. United States, 156 Fed. Cl. 623, 625
      (2021). The District of South Carolina then dismissed
      a patent infringement lawsuit naming Qualcomm and
      fifteen other companies, and the Federal Circuit af
      firmed that dismissal "on the ground of frivolousness."
      See Dkt. No. 6-6; Golden v. Apple Inc., No. 19-cv-02557,
      2020 WL 415896 at *2—3; Golden v. Apple Inc.,819 Fed.
      Appx. at 931. Six months later. Plaintiff filed another
      suit in the District of South Carolina against Qual
      comm and other defendants, alleging violations of
      state and federal antitrust law, and that suit too was
      dismissed based on the Magistrate Judge's recommen
      dation that the claims were "patently frivolous."
      Golden v. Apple inc., No. 20-cv-02270-BHH-KFM,2020
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      WL 11624670, "^4 (D.S.C. Sept. 11, 2020), report and
      recommendation adopted by Golden v. Apple Inc., No.
      20-CV-02270- JD-KFM,2021 WL 4260782(D.S.C. Sept.
      20,2021). Plaintifffiled yet another lawsuit in the Dis
      trict of South Carolina, which was dismissed as frivo
      lous. Golden v. Apple Inc., No. 20-cv-04353-JD-KFM,
      2021 WL 5890508, *5 (D.S.C. Feb. 5, 2021), report and
      recommendation adopted by Golden v. Apple Inc., No.
      20-CV-04353-JD-KFM, 2021 WL 5074739 (D.S.C. Nov.
      2, 2021). And shortly thereafter, Plaintiff filed another
      lawsuit in South Carolina naming Google as the sole
      defendant, but alleging that Google jointly infringed
      his patents with both Qualcomm and Apple. Golden v.
      Google, LLC, No. 21-cv-00244-JD-KFM, 2021 WL
      5890440, ^'4 (D.S.C. Apr. 9, 2021), report and recom
      mendation adopted by Golden v. Google, LLC, No. 21-
      CV-00244-JDKFM, 2021 WL 5083804 (Nov. 2, 2021).
      This case was also dismissed with prejudice as frivo
      lous, with the Magistrate Judge specifically noting that
      Plaintiff could not "circumvent prior rulings by this
      court that infringement allegations against Ap-
      ple/Qualcomm are frivolous." Golden v. Google, LLC,
      2021 WL 5890440 at H (D.S.C. Apr. 9, 2021).^

           ^ The Federal Circuit affirmed the November 2, 2021 dismis
      sal ofthe complaint against Apple, but reversed the April 9, 2021
      dismissal of the complaint against Google. Golden v. Apple, 2022
      WL 4103285 at *2 (Fed. Cir. 2022), As to the complaint against
      Google, the Federal Circuit found that the complaint included a
      claim chart that"attempts—whether successfully or not—to map
      claim limitations to infringing product features, and it does so
      in a relatively straightforward manner." Id. The Federal Circuit
      remanded to allow the complaint to be filed and served, but noted
      that "(o]ur decision does not preclude subsequent motions to
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            The Court finds that the claims in this case are
       equally as frivolous as Plaintiff's many allegations
       against Qualcomm that preceded them. As other
       courts have observed, "[b]ecause Golden neither
      breaks his allegations down into counts, nor provides
      a numbering system, it is challenging to say exactly
      how many counts are at issue." Golden v. Intel, 2022
      WL 17735388 at *3, n.l. The Court's challenge here is
      compounded because Plaintiff has attached nearly
      1,200 pages of documents to the complaint. The Court
      need not, and will not, wade through the attachments
      to attempt to ferret out aspects of the claims not fairly
      and squarely addressed in the body ofthe 37-page com
      plaint: Federal Rule of Civil Procedure 8(a) requires
      that a complaint contain "a short and plain statement
      of the claim showing that the pleader is entitled to re
      lief" Fed. R. Civ. P. 8(a)(2).

           With these caveats, it appears Plaintiff is assert
      ing three claims:(1) antitrust violations;(2) unjust en
      richment; and (3) patent infringement. Complaint at 1
      ("COMPLAINT FOR ANTITRUST LAW VIOLA
      TIONS AND PATENT INFRINGEMENT").




      dismiss by the defendant for failure to state a claim," and it "ex
      press[ed] no opinion as to the adequacy of the complaint or claim
      chart except that it is not facially frivolous." Id. In the present
      case, as described below, Plaintiff's allegations fail to meet this
      standard, and the issue comes before the Court on a fully-briefed
      motion to dismiss.
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       II.   MOTION TO DISMISS

             A. Plaintiff fails to plausibly plead an an
                titrust claim.

           The Complaint alleges that "[ujpon information
       and belief, Plaintiff believes Qualcomm has formed or
       created its monopoly for chipsets by 'tying' Plaintiff's
       CPUs to its wireless cellular modems." Compl. f 52.
       The theory appears to be that "Qualcomm's 'hold out'
       strategy of'no license, no chip' was used to force the co-
       conspirator OEMs to purchase Plaintiff's patented
       CPU that Qualcomm 'tied' to its modem."Id. ^ 54. The
       alleged harm appears to be that"Qualcomm's anticom
       petitive practices has [sic] restrained Plaintiff from
      entering the market to collect royalties on his patented
      inventions." Id. ^ 83. Plaintiff relies heavily through
      out the complaint on the district court's findings in
      FTC. V. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal.
      2019), and attaches a copy of that decision to the com
      plaint, without recognizing that the case was reversed
      and vacated by the Ninth Circuit. See id.        76-78; cf.
      FTC V. Qualcomm Inc., 969 F.3d 974, 1001-1002 (9th
      Cir. 2020)(finding no antitrust violation based on "no
      license, no chips" policy because district court "failed to
      identify how the policy directly impacted Qualcomm's
      competitors or 'distorted the area of effective competi
      tion,"' and policy "involve[d] potential harms to Qual
      comm's customers, not its competitors, and thus falls
      outside the relevant antitrust markets") (citations
      omitted; emphasis in original).
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           Plaintiff's antitrust claim is frivolous. At the out
       set, Plaintiff lacks antitrust standing. A party seeking
      to bring a private antitrust action must establish anti
      trust iniury.American Ad Mgmt,Inc. V. Gen. Tel. Co. of
      CaL,190 F.3d 1051,1054 & n.3(9th Cir. 1999); Cargilf
      Inc. V. Monfort of Colorado, Inc., 479 U.S. 104, 110 n.5
      (1986)(requiring antitrust injury to seek injunctive re
      lief under the Clayton Act). To plead antitrust injury,
      Plaintiff must allege that he suffered the type ofinjury
      antitrust laws were designed to prevent and that he is
      a participant in the same market as the alleged wrong
      doers. Golden v. Intel, 2022 WL 17735388 at *4 (citing
      American Ad Mgmt,190 F.Sd at 1055, 1057). Plaintiff
      fails to allege that he is a participant in the same mar
      ket as Qualcomm or that he suffered injury in that
      market, and does not even allege the contours of the
      claimed market. To the extent the claim is that he is
      "restrained" from "entering the market to collect roy
      alties on his patented inventions," Compl. ^ 83, that is
      fatally implausible: he is free to license his patents to
      whoever wants to license them, but this theory does
      not state a viable antitrust claim. To the extent Plain
      tiff's actual purported injury is patent infringement,
      the Court addresses that claim below.


           B. Plaintiff fails to plausibly or adequately
              plead patent infringement.
          As in his prior cases, Plaintiff "fail[s] to include
      factual allegations beyond the identities of the defend
      ant!], reference to the alleged infringing devices, and
      the alleged infringed-upon patents." Golden v. Apple,
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                               App. 17

      No. 20-CV-04353-JD-KFM, 2021 WL 5074739 at *2,
      aff'd as to this holding. No. 22-1229,2022 WL 4103285
      (Fed. Cir. Sept. 8, 2022). The complaint lists two illus
      trative claims, without explaining what product made
      by Qualcomm supposedly infringes, or how. Compl.
      n 86-88. Plaintiff references his complaint in Golden
      V. United States for the premise that Qualcomm "had
       an opportunity" to show that certain claims were inva
       lid, but "failed to appear." Id.  84-85. That is irrele
       vant,and does nothing to adequately put Defendant on
       notice of his theory of infringement. Nor does a claim
       chart regarding a GM product, id. ^ 107, or a multi-
       hundred page claim chart concerning Samsung prod
       ucts, Dkt. No. 1-7, adequately state a claim.
          Plaintiff also fails to adequately plead contribu
      tory or induced infringement. As for contributory in
      fringement, Plaintiff fails to plead any of the elements
      ofthat offense:(1)selling a device capable ofinfringing
      the patent, which is not suitable for substantial non-
      infringing use;(2) with knowledge that the infringing
      device was especially adapted for use in an infringe
      ment of such patent; and (3) actual infringement by
      another. Golden v. Intel, 2022 WL 17735388 at '''2. For
      example, Plaintiff fails to plead facts plausibly sup
      porting a claim that the Snapdragon chipsets or Snap
      dragon ride platform do not have other noninfringing
      uses. See Uniloc U.S.A., Inc. u. Logitech, Inc., No. 18-cv-
      01304, 2018 WL 6025597 (N.D. Cal. Nov. 17, 2018)
      (granting motion to dismiss where plaintiff"fail[ed] to
      provide factual underpinnings for its allegations that
      there are no substantial noninfringing uses of the
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      accused devices")- Similarly, as to induced infringe
      ment,Plaintifffails to allege facts plausibly supporting
      an inference that Qualcomm purposely induced an
      other party to infringe any patent. See Lifetime Indus.,
      Inc. V. Dim-Lok, Inc., 869 F.3d 1372, 1379 (Fed. Cir.
      2017)("For an allegation of induced infringement to
      survive a motion to dismiss, a complaint must plead
      facts plausibly showing that the accused infringer spe
      cifically intended another party to infringe the patent
      and knew that the other party's acts constituted in
      fringement.") (citation and internal quotation marks
      and brackets omitted).


           C. Plaintiff fails to plausibly plead unjust
               enrichment.

          Because Plaintiff fails to state a claim for either
      direct or contributory infringement, he also fails to
      state a claim for unjust enrichment.See Golden v. Intel,
      2022 WL 17735388 at =^-'3.



           D. The complaint is dismissed as frivolous
               without leave to amend.

          As noted above,Plaintiff's claims have almost uni
      formly been dismissed in jurisdictions around the na
      tion, often without leave to amend. See Golden v. Intel,
      No. 22-CV-03828-NC, 2022 WL 17735388 (N.D. Cal,
      Nov. 22, 2022); Golden v. Apple Inc., No. 19-cv-02557-
      DCC,2020 WL 415896(D.S.C. Jan. 27,2020),aff'd,819
      Fed. App'x. 930 (Fed. Cir. 2020) (affirming dismissal
      "not on the basis of duplicity, but on the ground of
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       frivolousness"}; Golden v. Apple Inc., No. 20-cv-02270-
       JD-KFM, 2021 WL 4260782 (D.S.C. Sept. 20, 2021),
       aff'd, No. 21-2160, 2022 WL 986984 (4th Cir. Mar. 31,
       2022); Golden v. Apple Inc., No. 20-cv-04353-JD-KFM,
       2021 WL 5074739 (D.S.C. Nov. 2, 2021), aff'd. No. 22-
       1229, 2022 WL 4103285 (Fed. Cir. Sept. 8, 2022);
       Golden v. Google, LLC,No. 21-cv-00244-JD-KFM,2021
       WL 5083804 (D.S.C. Nov. 2, 2021); Golden v. Apple, 22-
       cv-04152-VC (N.D. Cal. Oct. 20, 2022).
           The same result is warranted here: ultimately,
       Plaintiff has repeatedly shown that he is not capable
       of pleading these sprawling and repetitive claims
       against Qualcomm in a manner that satisfies the basic
      requirements of federal pleading, such that granting
      leave to amend under these unusual circumstances
      would be futile. In particular, given what has already
      been pled, including the complaint's very heavy reli
      ance on the district court's reversed findings in FTC.
      V. Qualcomm, no amendment of the antitrust claim at
      the core of the complaint could cure the fundamental
      problem that Plaintiff does not have antitrust stand
      ing. See United States v. Corinthian Colleges, 655 F.3d
      984,995(9th Cir. 2011)(finding that leave to amend is
      only warranted "if the deficiencies can be cured with
      additional allegations that are consistent with the
      challenged pleading and that do not contradict the al
      legations in the original complaint"). And Plaintiff's
      infringement claims against Qualcomm repeat, either
      directly or in substance, claims previously found more
      than once to be frivolous. Accordingly, this is the rare
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       case in which dismissal without leave to amend is war
       ranted on the first round motion to dismiss.


       III. CONCLUSION

           The     motion    to   dismiss the    complaint is
       GRANTED WITHOUT LEAVE TO AMEND. All
       pending motions, Dkt. Nos. 15, 22, 34, and 46, are de
       nied as moot. The Clerk is directed to enter judgment
       against Plaintiff and in favor of Defendant and close
       the case.

           IT IS SO ORDERED.

       Dated:    3/15/2023

                             /s/ Haywood S. Gilliam, Jr.
                                  HAYWOOD S. GILLIAM,JR.
                                  United States District Judge
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                UNITED STATES DISTRICT COURT

            NORTHERN DISTRICT OF CALIFORNIA


       LARRY GOLDEN,                  Case No. 22-cv-03283-HSG
                 Plaintiff,           ORDER DENYING
           V.                        MOTION FOR
                                     RECONSIDERATION
       QUALCOMM,INC.,
                                     Re: Dkt. No. 51
                 Defendant.
                                     (Filed Apr. 6, 2023)

           Pending before the Court is Plaintiff Larry
       Golden's motion for reconsideration of the Court's or
      der granting Defendant Qualcomm's motion to dis
      miss, Dkt. No. 49. Dkt. No. 51.^ Qualcomm filed an
      opposition(Dkt. No.53,"0pp."),and Plaintiffthen filed
      a document styled as "supplemental authority." (Dkt.
      No. 54). The Court finds this matter appropriate for
      disposition without oral argument and the matter is
      deemed submitted. See Civil L.R. 7-l(b). The Court
      DENIES the motion.



      I.    LEGAL STANDARD

          In the Northern District of California, Local Rule
      7-9 allows for the filing of motions for reconsideration
      only with respect to interlocutory orders made in a


          ^ In addition to the motion, Dkt. No. 51, Plaintiff submitted
      Dkt. No. 52, entitled "Plaintiff's Memorandum of Law in Support
      of Plaintiff's Motion for Reconsideration." The Court considered
      both filings.
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      case prior to the entry offinal judgment.See Civil L.R.
      7-9(a). Post judgment motions for reconsideration are
      construed as motions to alter or amend judgment un
      der Federal Rule of Civil Procedure 59(e)(motion to
      alter or amend judgment) or motions for relief from
      judgment or order under Federal Rule of Civil Proce
      dure 60(b)(motion for relieffrom judgment).
           Motions for reconsideration should not be fre
      quently made or freely granted; they are not a substi
      tute for appeal or a means of attacking some perceived
      error of the court. See Twentieth Century - Fox Film
      Corp. V. Dunnahoo,637 F.2d 1338,1341(9th Cir. 1981).
      3 [T]he major grounds that justify reconsideration in
      volve an intervening change of controlling law, the
      availability of new evidence, or the need to correct a
      clear error or prevent manifest injustice.' Pyramid
      Lake Paiute Tribe ofIndians v. Hodef 882 F.2d 364,369
      n.5 (9th Cir. 1989) (quoting United States u. Desert
      Gold Mining Co., 433 F.2d 713, 715(9th Cir. 1970)).
          Rule 60(b) lists six grounds for relief from a judg
      ment:(1) mistake,inadvertence, surprise or excusable
      neglect; (2) newly discovered evidence which by due
      diligence could not have been discovered in time to
      move for a new trial; (3)fraud by the adverse party;
      (4)the judgment is void;(5)thejudgment has been sat
      isfied;(6)any other reason justifying relief. Fed. R. Civ.
      P. 60(b); School Dist. IJ v. ACandS Inc., 5 F3d 1255,
      1263(9th Cir.1993).
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       II.   DISCUSSION

             Plaintiff's motion does not present any basis for
       reconsideration ofthe Courts dismissal order or the re
       sulting judgment. It simply contends that the Court
       was wrong to dismiss his case, raising substantially
       the same arguments Plaintiff presented in opposing
       the motion to dismiss.Plaintiff has every right to make
       these arguments on appeal, but he may not relitigate
       them here. The Court has issued its ruling, final judg
       ment has been entered, and this case remains closed.
      The motion for reconsideration is thus DENIED,and
      the Clerk is directed not to accept any further filings
      in this closed case.

             IT IS SO ORDERED.

      Dated:     4/6/2023

                             /s/ Haywood S. Gilliam, Jr.
                                HAYWOOD S. GILLIAM, JR.
                                United States District Judge
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               Note: This order is nonprecedential.
                 United States Court of Appeals
                      for the Federal Circuit


                          LARRY GOLDEN,
                          Plaintiff-Appellant
                                     V.


                 QUALCOMM INCORPORATED,
                     Defendant-Appellee


                                2023-1818


          Appeal from the United States District Court for
      the Northern District of California in No. 4:22-cv-
      03283-HSG,Judge Haywood S. Gilliam, Jr.


       ON PETITION FOR PANEL REHEARING AND
                      REHEARING EN BANC


                          (Filed Dec. 6, 2023)
        Before Moore,ChiefJudge, LOURIE, Bryson\ Dyk,
          Frost, Reyna, Taranto, Chen, Hughes, Stoll,
            Cunningham,and Stark, Circuit JudgesJ
      Per Curiam.




           ^ Circuit Judge Bryson participated only in the decision on
      the petition for panel rehearing.
          - Circuit Judge Newman did not participate.
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                              ORDER

           Larry Golden filed a combined petition for panel
       rehearing and rehearing en banc. The petition was
       referred to the panel that heard the appeal, and there
       after the petition was referred to the circuitjudges who
       are in regular active service.

           Upon consideration thereof,
           It Is Ordered That:

           The petition for panel rehearing is denied.
           The petition for rehearing en banc is denied.
           The mandate of the court will issue December 13,
      2023.

                                   For the Court

                                            [SEAL]
      December 6. 2023            /s/ Jarrett B. Perlow
         Date                         Jarrett B. Perlow
                                         Clerk of Court
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                                                                  LARRY GOLDEN,
                                                                        Petitioner,
                                                                            V.

                                                                  QUALCOMM INC.,
                                                                       Respondent.

                                                             AFFIDAVIT OF SERVICE


I, Renee Goss, of lawftil age, being duly sworn, upon my oath state that I did, on the 5th day of January, 2024, send out from
Omaha. NE 1 package(s) containing 3 copies of the PETITION FOR WRIT OF CERTIORARI in the above entitled case. All
parties required to be served have been served by Priority Mail. Packages were plainly addressed to the following:

                                                                   SEE ATTACHED



To be filed for:

        LARRY GOLDEN, Petitioner, Pro Se
        740 Woodmff Rd., #1102
        Greenville, South Carolina 29607
       (864) 288-5605
       atpg-tech(@chartcr.net




Subscribed and swom to before me this 5th day ofJanuary, 2024.
I am duly authorized under the laws of the State of Nebraska to administer oaths.


          State of Nebraska - General Notary
                   ANDREW COCKLE
                My Commission Expires
                      April 9,2026                          Notary Public                         Affiant


                                                                                                                                     44630
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                                 SERVICE LIST



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